                                                                         _________________




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                                                                                                   FILED
                                                                                                   06-01-2018
                                                                                                   Clerk of Circuit Court
                                                                                                   Ashland County, WI
     STATE OF WISCONSIN                       CIRCUIT COURT                      ASHLAND C&d6oo8o
                                                                                                   Honorable Robert E
     CLARENCE HOULE III                                                                            Eaton
                                                              Case No.
     AND                                                                                           Branch I
                                                              Classification: 30405   -   Other Real Estate
                                                                                               -




     TAMMY HOULE

                              Plaintiffs,

               vs.

     Town of Sanborn, Wisconsin,

                              Defendant.


                                                  SUMMONS


     To each person named above as a Defendant:

               You are hereby notified that the Plaintiffs above named have filed a lawsuit or other legal

     action against you. The Complaint, which is attached, states the nature and basis of the legal action.

               Within twenty (20) days of receiving this Summons, you must respond with a written

     Answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The Court

     may reject or disregard an Answer that does not follow the requirements of the Statutes. The

     Answer must be sent or delivered to the Court, whose address is: Ashland County Courthouse, 201

     Main Street W, Ashland, WI 54806, and to Dorsey & Whitney LLP, Suite 1500, 50 South Sixth

     Street, Minneapolis, MN 55402-1498.

               You may have an attorney help or represent you.

               If you do not provide a proper Answer within twenty (20) days, the Court may grant

     judgment against you for the award of money or other legal action requested in the Complaint, and

     you may lose your right to object to anything that is or may be incorrect in the Complaint. A

     judgment may be enforced as provided by law. A judgment awarding money may become a lien


                                                                                                              EXHIBIT
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against any real estate you own now or in the future, and may also be enforced by garnishment or

seizure of property.

           Dated this 1st day of June, 2018.


P.O. ADDRESS:                                  DORSEY & WHITNEY LLP
                                               A homey for Plaintiffs
Suite 1500, 50 South Sixth Street
Minneapolis, M1’J 5 5402-1498
(612) 340-2600
                                                By: Electronically signed by Skip Durocher
                                                     Skip Durocher (SBN 1018814)




                                               2

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                                                                      ________




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STATE OF WISCONSIN                        CIRCUIT COURT                          ASHLAND COUNTY

Clarence Houle III
                                                         Case   No.




and
                                                         Classification: 30405     -   Other Real Estate
                                                                                            -




Tammy Houle,

                          Plaintiffs,

          vs.

Town of Sanborn, Wisconsin,

                          Defendant.


                                            COMPLAINT

          Plaintiffs Clarence Houle III and Tammy Houle (collectively, “Plaintiffs”) bring this action

for recovery of unlawful taxes against the Town of Sanborn, Wisconsin (“Defendant”) as follows:

                                          INTRODUCTION

          1.       Plaintiffs bring this suit pursuant to Wis. Stat.   §   74.35(3)(d) to recover taxes

wrongfully assessed against it by Defendant. Plaintiffs are enrolled members of the Bad River

Band of Lake Superior Chippewa Indians Tribe (the “Tribe”), a federally recognized American

Indian tribe, and are exempt from state and local property taxes as described herein.

                                               PARTIES

          2.       Plaintiffs are enrolled members of the Tribe, a federally recognized American

Indian tribe.

          3.       Plaintiffs own real property in fee simple within the Town of Sanbom, which is

located in Ashland County, Wisconsin.

          4.       Defendant is a municipal organization located in Ashland County, Wisconsin.

Certain real property owned by Plaintiffs, property that is the subject of this action, lies within the

geographical borders of Defendant.
                                                    3


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                                     JURISDICTION AND VENUE

         5.         This Court has personal jurisdiction over Defendant because Defendant is a

Wisconsin town in Ashland County, Wisconsin.

         6.         Venue is proper in this Court tinder Wis. Stat.   § 801.50 and 74.35 because Ashland
County is the county in which this claim arose, it is the county where real property, which is the

subject of this claim, is situated, it is the county where Defendant resides or does substantial

business, and it is the county      containing   the taxation district that denied Plaintiffs’ claim under

Wis. Stat.     §   74.35. Defendant denied Plaintiffs’ claim for recovery of unlawful property taxes

under Wis. Stat.      §   74.35.

                                       FACTUAL BACKGROUND

         7.         Plaintiffs are enrolled members of the Tribe. The Tribe is a successor in interest to

the La Pointe Band of Lake Superior Chippewa, a signatory band to the Treaty with the Chippewa

at La Pointe, September 30, 1854, 10 Stat. 1109 (the “1854 Treaty”) between the President of the

United States and the Chippewa Indians of Lake Superior and Mississippi.

         8.         Article 2, clause 2 of the 1854 Treaty establishes a reservation for the La Pointe

Band of Lake Superior Chippewa that is now the reservation of the Tribe (the “Reservation”).

         9.         Plaintiffs own real property in fee simple within the Reservation in the Town of

Sanborn.

         10.        Plaintiffs timely paid or intend to timely pay under protest the following tax

assessed with respect to real property in fee simple that Plaintiff own within the Reservation:

                            Parcel Number:                 Type of Tax:

                            022-01600-0300                 2015, 2016, 2017 real property tax

\Vhere available, proof of payment is attached as Exhibit A.


                                                       4

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          11.      The above-listed property   is   within the boundaries of the Reservation and is exempt

under federal law from taxation pursuant to the 1 854 Treaty. Because the above-listed property is

exempt from taxation under federal law, imposition of property tax with respect to the property

was a   palpable error under Wis. Stat.   §   74.33(1)(c).

          12.      Under the 1 854 Treaty, the Chippewa Indians ceded to the United States a

substantial amount of land in exchange for the United States setting aside permanent reservations

for the various bands of Lake Superior and Mississippi Chippewa. Article 11 of the 1 854 Treaty

provides that “[T]he Indians shall not be required to remove from the homes hereby set apart for

them.”

          13.      The 1854 Treaty’s prohibition against involuntary removal of tribal members from

their reservations disallows any involuntary alienation of real property owned by the tribe or tribal

members within the Reservation, including the sale of real property in fulfillment of a tax

judgment. Because the 1854 Treaty prohibits the involuntary state alienation of real property

owned by the tribe or tribal members within the Reservation, it prohibits the state taxation of such

real property within the Reservation.

          14.      No provision of the 1854 Treaty otherwise allows for the taxation of real property

within the Reservation owned by the Tribe or its members. No subsequent treaty, statute, or

executive order has authorized the imposition of state taxes on real property within the Reservation

owned by the Tribe or its members.

          1 5.     The terms of an Indian treaty must be interpreted to give effect to the terms as the

Indians themselves would have understood them.               Minnesota v.   Mi/ic Lacs Band of Chippewa

Indians, 526 U.S. 172, 196 (1999). Moreover, Indian treaties must be interpreted liberally in favor

of the Indians and any ambiguities must be resolved in their favor. Id. at 20.


                                                        5

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          16.      The oniy federal appellate court to interpret Article 11 of the 1854 Treaty, the Sixth

Circuit Court of Appeals, confirmed this reading of the 1854 Treaty and held that Article 11

prohibits the involuntary alienation and therefore the state taxation of real property held by Indians

within the reservations created by the treaty. See Keweenaw Bay Indian Community v. Naflaly,

452 F.3d 514 (6th Cir. 2006), ceil. denied, 549 U.S. 1053 (2006) (the “KBIC Case”). A copy of

the KBIC Case is attached as Exhibit B.

          17.      In the KBIC Case, the Sixth Circuit held that the 1854 Treaty disallowed

involuntary state tax sales and state taxation of real property owned by the Keweenaw Bay Indian

Community or its members within the reservation created for them pursuant to the 1854 Treaty.

Keweenaw Bay Indian Community, 452 F.3d 514, at 524—27. The Sixth Circuit stated that this

interpretation of the 1 854 Treaty is in keeping with its purpose to provide a permanent home for

the Chippewa Indians. Id. The Sixth Circuit recognized that Congress has not expressed any

intention to abrogate treaty rights under the 1854 Treaty, and rejected the argument that the General

Allotment Act showed a clear intent of Congress to make the lands at issue taxable. Id. at 532—

33.

          18.      The State of Wisconsin imposes an ad valorem tax upon real property within the

state, subject to various exceptions and exemptions, payable by the owner of the property. If a

property owner fails to pay the tax assessed upon a land parcel, the parcel will be returned as

delinquent and eventually foreclosed and sold for taxes, thereby dispossessing the owner of the

property.

          19.      After the decision in the KBIC Case, the Town Board of the Town of Sanborn

passed Resolution No. 0723-2007 dated July 23, 2007 (the “Resolution”). The Resolution stated

that pursuant to the KBJC Case, lands allotted in fee simple under the 1 854 Treaty owned by the


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Tribe or members of the Tribe are not subject to property taxes within the Town of Sanborn. The

Town of Sanborn ordered the town assessor to list such land as “non-taxable” on the town’s tax

roll. A copy of the Resolution is attached as Exhibit C.

          20.    After the decision in the KBIC Case, the Wjsconsjn Department of Revenue

provided guidance regarding the taxability of Native American owned fee simple land located on

the Reservation in a letter dated April 4, 2007 addressed to local tax assessor Martin Meyer signed

by Billy J. Bowers, Director, Bureau of Assessment Practices, Wisconsin Department of Revenue.

The letter stated: “With regard to land owned by Native Americans that is covered by the 1 854

treaty, there is no presumption of taxability in these instances and the burden to prove taxability

rests with the municipality. The municipality would be required to determine whether: (1) the fee

simple parcel is within the outer boundary of the reservation, and (2) the parcel was subject to the

1854 treaty.” The letter also states that with respect to land owned by Native Americans covered

by the 1854 Treaty, “The State does not have authority to tax property that is exempt via federal

guidelines unless it is authorized to do so by Congress, so the typical statutorily required

documents and exemption requests are not applicable to this type of property.” A copy of the

April 4, 2007 letter is attached as Exhibit D.

          21.    The Wisconsin Department of Revenue reconfirmed its position on the non-

taxability of real property owned by Native Americans within reservations created by the

1854 Treaty after the KBIC Case in a letter dated August 24, 2007 addressed to local assessors

and signed by Daniel F. Elsass, Administrator, Division of State and Local Finance, Wisconsin

Department of Revenue.       The letter stated: “When a Native American tribe or tribal member

claims a property is exempt under the Treaty of 1854, the property is presumed to be exempt. The




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onus is on the municipality to challenge this    presumption   and prove that the property is taxable.”

A copy of the August 24, 2007 letter is attached as Exhibit E.

          22.      The Resolution and the Wisconsin Department of Revenue’s 2007 letters are

consistent with the language of the 1854 Treaty and the Sixth Circuit Court of Appeals’

interpretation of the 1854 Treaty in the KBIC Case.

          23.      The Wisconsin Department of Revenue’s position on the non-taxability of Native

American owned land on reservations created under the 1854 Treaty inexplicably changed after

2007. Chapter 20 of the Wisconsin Property Assessment Manual (the “Assessment Manual”) now

provides that real property located within a reservation created by the 1854 Treaty is exempt only

if: (1) it was allotted before February 8, 1887 under the 1854 Treaty, (2) it is owned in fee simple

by the tribe or tribal members, and (3) there has been no conveyance of the land to nontribal

members since it was first allotted under the 1854 Treaty. Wis. Dep’t of Revenue, 2018 Wis. Prop.

Tax Assessment Manual 20-26 (2018).           The Assessment Manual also states that “[a]ssessors

should review tax roll information at the Municipality and County along with ownership

information at the Register of Deeds office” in order to determine whether the property is exempt

from tax under the three criteria. Id.

          24.      On January 12, 2017, the Ashland County Circuit Court issued an order in the case

Scott Brerting, et al. v. Town of Sanbomn Board of Review, Case No. 16CV-30 (the “Order”)

ordering the Town of Sanborn Board of Review to notify the owners of all properties removed

from the tax rolls pursuant to the Resolution of the Board of Review’s intention to place the

properties back on the assessment roll as taxable. A copy of the Order is attached as Exhibit F.

          25.      The Order required the Town of Sanborn Assessor to tax all properties that stopped

being taxed due to the Resolution, unless evidence was presented at a hearing that a specific


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property: (1) was allotted before February 8, 1887 under the 1854 Treaty; (2) is owned in fee

simple by the Tribe or members of the Tribe; and (3) has never been conveyed to nontribal

members since it was first allotted under the 1854 Treaty.

          26.      Pursuant   to the Order, on March 21, 2017, the Board of Review of the Town of

Sanborn issued a Notice of Assessment by Board (the “Notice”) to members of the Tribe whose

property was listed as non-taxable due to the Resolution. The Notice invited the recipient property

owners to demand a hearing. If the property owner demanded a hearing, the Notice advised that

in order for the property to remain non-taxable, the property owner must present evidence at the

hearing that his or her property: (1) was allotted before February 8, 1887 under the 1854 Treaty;

(2) is owned in fee simple by the Tribe or members of the Tribe; and (3) has never been conveyed

to nontribal members since it was first allotted under the 1854 Treaty. A copy of a Notice of

Assessment substantially in the form sent to members of the Tribe who own property in the Town

of Sanborn is attached as Exhibit G.

          27.      The Order and the Notice created a presumption of taxability rather than a

presumption of non-taxability with respect to fee simple property owned by the Tribe or its

members within the Reservation and placed the burden on the property owner rather than the

municipality to establish that the property is nontaxable. The Order and the Notice required the

property owner to show that the property was allotted prior to February 8, 1887 and has never been

conveyed to nontribal members, rather than requiring the property owner to simply show that their

property is located within the Reservation.

          28.      At the Board of Review hearing on April 24, 2017 held pursuant to the Notice,

members of the Tribe who        own property in   the Town of Sanborn within the Reservation objected




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to the proceedings and to the Town of Sanborn Board of Review’s intention to place property that

stopped being taxed pursuant to the Resolution back on the Town of Sanborn property tax rolls.

          29.      The standards for exemption and the process for establishing exemption imposed

by the Assessment Manual, the Order, and the Notice violate federal law and contradict the

language of the 1854 Treaty, the Sixth Circuit Court of Appeal’s interpretation of the 1854 Treaty

in the KBIC Case, the Town of Sanborn’s own interpretation of federal law as demonstrated in the

Resolution, and the guidance of the Wisconsin Department of Revenue following the KBIC Case

as demonstrated in the two letters written by Wisconsin Department of Revenue officials following

the case.

          30.      Federal law, not Wisconsin law, governs whether the Town of Sanborn can impose

property tax on fee simple property located within reservations created pursuant to the 1854 Treaty.

The Supremacy Clause of Article VI, Clause 2 of the United States Constitution establishes that

the Constitution, federal laws made pursuant to it, and treaties made under its authority constitute

the supreme law of the land.

          3 1.     The conclusions in the Assessment Manual and the Order that real property is

exempt from taxation under the 1 854 Treaty only if the Tribe or the tribal member can show that

the land was allotted before February 8, 1 887 and was never conveyed to a non-Indian is contrary

to the plain language of the 1 854 Treaty, its promise of a permanent home for the Tribe and its

members, and federal law interpreting the interpreting the 1854 Treaty. Neither the district court

in Keweenaw Bay Indian Community v. Naftaly, 370 F. Supp. 2d 620 (W. D. Mich), nor the Sixth

Circuit in the KBIC Case attached any importance to the date of allotment or whether the real

property had ever been conveyed to a non-Indian, and neither court suggested that those facts have

any legal relevance.


                                                 10

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          32.        The 1854 Treaty was made under the authority of the United States Constitution

and has never been abrogated. The Assessment Manual and Order are preempted by federal law

based on the Supremacy Clause.

          33.        Involuntary alienation in satisfaction of tax judgments is an integral part of the

property tax scheme of the Town of Sanborn. The 1854 Treaty, however, prohibits the involuntary

alienation and therefore the imposition of property tax on fee simple property within the

Reservation owned by the Tribe or its members.

          34.       The Town of Sanborn should bear the burden of proving that fee simple property

within the Reservation owned by the Tribe or its members is taxable.                As the Wisconsin

Department of Revenue advised in its 2007 letters following the KBIC Case, there is a presumption

of non-taxability for any fee simple property held by Native Americans within reservations created

pursuant to the 1854 Treaty, and the Town of Sanborn bears the burden of proving that the property

is taxable.        The Order and the Notice reverse the burden of proof and state that there is a

presumption of taxability, and that the burden is on the property owner to prove that the land is

non-taxable. There is no basis to reverse the burden now. Further, because the Town of Sanborn

removed the properties from the tax roll and now seeks to return them to the tax roll, the burden

should be on the Town of Sanborn to prove that the property is taxable.

          35.       On or around January 30, 2018, Plaintiffs filed a Claim for Recovery of Unlawful

Property Taxes in accordance with Wis. Stat.        §    74.35 with Defendant (the “Claim”). Defendant

denied the Claim.

          36.       Plaintiffs understand that the Tribe intends to file a federal court action seeking

resolution under federal law of whether the Town of Sanborn can impose property tax on fee

simple property located within reservations created pursuant to the 1 854 Treaty. Plaintiffs have


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filed this claim for exemption to preserve their claim for refund, and intend to request a stay of this

proceeding until after the federal court action has been resolved.

                                                     COUNT I
                             (Wis. Stat.   §   74.35 Recovery of Unlawful Taxes)
                                                      -




            37.      Plaintiffs repeat and reallege the foregoing paragraphs as though fully set forth

herein.

            38.      Plaintiffs were aggrieved by the levy and collection of an unlawful tax assessed

against their property. The tax was an “unlawful tax” within the meaning of Wis. Stat.           §   74.35

and 74.3 3(1)(c) because Plaintiffs’ property is exempt by law from taxation.

            39.      Defendant was the taxation district which collected the unlawful tax under Wis.

Stat.   §   74.35.

            40.      Plaintiffs filed a claim for recovery against Defendant pursuant to Wis. Stat.      §
74.35.

            41.      Defendant disallowed the claim pursuant to Wis. Stat.   §   74.35.

            42.      Plaintiffs now bring the present action in circuit court to recover the amount of the

claim not allowed pursuant to Wis. Stat.          §   74.35.

            43.      Plaintiffs are bringing the present action within 90 days after Plaintiffs received

notice by certified or registered mail that the claim is disallowed.



WHEREFORE, the Plaintiffs request the following:

                   (a)     That the Town of Sanborn return to Plaintiffs the 2015, 2016, and 2017
            property taxes paid.

                     (b)    For such other and further relief as this Court deems appropriate.




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          Dated this 1st day of June, 2018.




                                               DORSEY & WHITNEY LLP
                                               Attorneys for Plaintiff




                                               By: Electronically signed by Skip Durocher
                                                    Skip Durocher (SBN 1018814)
                                                    Suite 1500
                                                    50 South Sixth Street
                                                    Minneapolis, MN 55402-1498
                                                    (612) 340-2600




                                              1-,
                                              1.)


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     EXHIBIT A
    Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 15 of 49

Parcel #: 022-01600-0300                                                                              Valid as of 01/26/2018 01:24 PM

Alt. Parcel #:                                                                                                    TOWN OF SANBORN
                                                                                                                   ASHLAND COUNTY,
                                                                                                                         WISCONSIN

Owner and Mailing Address:                                            Co-Owner(s):
CLARENCE HOULE III                                                    HOULE, TAMMY
TAMMY HOULE
66950 BAYFRONT RD                                                     Physical Property
ASHLAND WI 54806                                                      Address(es):
                                                                      *
                                                                           66950 BAYFRONT RD
Districts:
DIst#      Description                                                Parcel History:
1700       VTAE DISTRICT                                                  Date                      Doc#          Vol/Page           Type
0170       ASHLAND SCHOOL DIST                                         09/06/2017               j43058            I                    LC
                                                                       08/22/2017                342890           /                  TOW
Legal Description:                          Acres: 2.780               07/07/2014                333272           736/829            TOD
WEST 150’ OF THE EAST 375’ OF GOVT LOTS                                06/25/2014                333178           736/494           TERM
LESS THAT LYING SOUTH OF BAYFRONT RD                                                                                                more.,.
DCC # 343058 LAND CONTRACT SEC. 1    more...      ...




Plat                                        Tract (S-T-R 40¼ 160¼ GL)                                         Block/Condo Bldg
*
    N/A-NOT AVAILABLE                       19-48N-03W
2017 ValuatIons:                                                                                Values Last Changed on
                                                                                                10/04/2017
Class and DescriptIon                        Acres                               Land                 Improvement                    Total
G1-RESIDENTIAL                       I      2.78ój                    83,400.001                      103,200.00!             186,600.00

Totals for 2017
                  General Property   I      2.7801                    83,400.00                       103,200.001             186,600.00
                        Woodland            0.000        I                 0.00                             0.00                    0.00

Totals for 2016
                  General Property          0.0001                               0.00                          0.001                  0.00
                        Woodland     I      0.0001                               0.00                          0.001                  0.00
2017 Taxes                               Bill #                     FaIr Market Value:                              Assessment Ratio:
                                         1141                         146,300.00                                    1.2751
                                 Amt Due          Amt PaId                Balance           Installments
NetTax                          3,988.31          1,994.16            1,994.15                      Endoate                           Total
SpeclalAssessments                   0.00                 0,00               0.00           1101/31/2018                 I       1,994.16
Special Charges
Delinquent Charges
                                     0.00
                                     0.00
                                                          0.00
                                                          0.00
                                                                             0.00
                                                                             0.00
                                                                                            2 107/31/2018                I       1,994.15

Private Forest Crop                  0.00                 0.00               0.00           Net MIII Rate                    0.021723475
Woodland Tax                         0.00                 0.00               0.00
Managed Forest Land                  0.00                 0.00               0.00
                                                                                            Gross Tax                            4,325.69
Prop Tax Interest                                         0.00               0.00
                                                                                            School Credit                          271.98
Spec Tax interest                                         0.00               0.00
                                                                                            Total                                4,053.61
                                                          0.00               0.00
                                                                                            First Dollar CredIt                     65.30
Prop Tax Penalty
Spec Tax Penalty                                             0.00            0.00
                                                                                            Lottery Credit               0 Claims    0.00
                                                             0.00         0.00              NetTax                               3,988.31
OtherCharges                         0.00
TOTAL                           3,988.31          1,994.16            1,994.15

Interest Calculated For 01/26/2018

                 (Posted
Payment          Payments)
Date                                                    Receipt #           Type                                  Amount Note
01/24/2018                                                     341!              T      I                       1,994.16J5370
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     EXHIBIT B
           Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 17 of 49




      Positive
As of: January 24, 2018 7:36 PM Z

                                  Keweenaw Bay indian Cmty. v. Naftaly
                                       United States Court of Appeals for the Sixth Circuit
                            April 26, 2006, Argued June 26, 2006, Decided June 26, 2006, Filed
                                                        File Name: 06a0207p.06
                                                              No. 05-1952

Reporter
               *;
452 F.3d 514        2006 U.S. App. LEXIS 15993   **.
                                                       2006 FED App. 0207P (6th Cir.)
KEWEENAW BAY INDIAN COMMUNITY, Plaintiff
Appellee, v. ROBERT NAFTALY, et al., Defendants-
                                                                      Opinion
Appellants, TOWNSHIP OF L’ANSE, et at., Defendants.

Subsequent History: US Supreme Court certiorari                        [*515] [***j] CLAY, Circuit Judge. Defendants Naftaly,
denied by Naftaly v. Keweenaw Bay Indian Cmy2QQ                       et al., appeal the June 1, 2005 order of the United
U.S. LEXIS 9043 (U.S., Nov. 27, 20Qj                                  States District Court for the Western District of Michigan
                                                                      granting Plaintiff Keweenaw Bay Indian Community’s
Prior History: [**1] Appeal from the United States                    motion for summary judgment, entering the declaratory
District Court for the Western District of Michigan at                judgment that the Michigan General Property Tax Act
Marquette. No. 03-00170        David W. McKeague,
                                   —
                                                                      (“Act”), [**2] Mich. Comp. Laws 211.1 et, was
District Judge.                                                       not valid as applied to **2] real property held in fee
                                                                      simple by Plaintiff or its members within the exterior
                                                                      boundaries of the L’Anse Indian Reservation, and
Keweenaw Bay Indian Crnty. v. Naftaly, 370 F. Supp.2d                 enjoining Defendants from enforcing the Act against
620, 2005 U.S. Dist. LEXIS 10823 (WD. Mich., 2005)                    said real property. For the following reasons, we
                                                                      AFFIRM the order of the district court.
Counsel: ARGUED: Todd B. Adams, OFFICE OF THE
ATTORNEY GENERAL, Lansing, Michigan, for
Appellants.                                                           I. BACKGROUND
Vernie C. Durocher, DORSEY & WHITNEY,
Minneapolis, Minnesota, for Appellee.
                                                                      A. PROCEDURAL HISTORY
ON BRIEF: Todd B. Adams, OFFICE OF THE
ATTORNEY GENERAL, Lansing, Michigan, for                              On August 13, 2003, Plaintiff filed a complaint in the
Appellants.                                                           United States District Court for the Western District of
                                                                      Michigan seeking declaratory and injunctive relief
Vernie C. Durocher, Mary .1. Streitz, DORSEY &
                                                                      against Defendants. The suit was in response [*516] to
WHITNEY, Minneapolis, Minnesota, John R. Baker,
                                                                      Defendants’ attempts to assess, collect, and enforce ad
KEWEENAW BAY INDIAN COMMUNITY, Baraga,
                                                                      valorem taxes under the Act against real property within
Michigan, Stephen D. Turner, Gregory N. Longworth,
                                                                      the L’Anse reservation held by Plaintiff or its members in
LAW, WEATHERS & RICHARDSON, Grand Rapids,
                                                                      fee simple.
Michigan, for Appellee.
                                                                       On December 12, 2003, Defendants filed a motion to
Judges: Before: GUY, DAUGHTREY, and CLAY,
                                                                       dismiss under Federal Rules of Procy      ?h) and
Circuit Judges. CLAY, J., delivered the opinion ol the
                                                                       i2f)L6j. On September 27,     2004, the district court
court, in which DAUGHTREY, J., joined. GUY, J.,
                                                                       denied the motion.
delivered a separate dissenting opinion.
                                                                       On October 26, 2004, Defendants filed a motion to
Opinion by: CLAY
                                                                       dismiss under Rtile 12(tj6) and a motion for summary
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            452 F.3d 514, “516; 2006 U.S. App. LEXIS 15993, “2: 2006 FED App. 0207P (6th Cir.), “‘2

judgment under Ru!e 56. On December 17, 2004.                 court in a case unrelated to the case before this Court,
Plaintiff filed a motion [or summary judgment (“3]            Keweenaw Bay Indian Corn,nunily v.S(atc of Michigan,
under           on Counts I and II oils complaint. Count      784 F. Stqp418LW.D. Mich. 1991):
I alleged that Plaintiff was entitled to declaratory and
injunctive relief because Congress had not clearly                The Keweenaw Bay is located on the southern
authorized state taxation of the real property at issue.          shore of Lake Superior in Michigan’s Upper
Count Il alleged that Plaintiff was entitled to declaratory       Peninsula. From the earliest records there existed a
and injunctive relief because application of the Act              band of Lake Superior Chippewa Indians near
would violate the terms of the 1854 Treaty. On June 1,            the [“5] mouth of the Bay, on an east-west
2005, the district court denied Defendants’ motion for            transportation corridor used by the Indians and later
summary judgment, granted Plaintiff’s motion for                  by fur traders. The Indians subsisted before the
summary judgment, entered a declaratory judgment that             coming of European society, consistent with their
the Act was not valid as applied to the real property at          traditional lifestyle, which included annual rounds of
issue, and enjoined Defendants from enforcing the Act             hunting and trapping in the Winter and fishing in the
against said real property. On June 28, 2005,                     Spring, Summer and Fall. The Lake Superior
Defendants timely filed a notice of appeal.                       Chippewas’ lifestyle was first impacted [*517] by
                                                                  contact with the French, followed by the English
                                                                  and finally by the Americans. Euro-American
B. FACTS                                                          contacts exposed the Chippewa, inter alia, to
                                                                  Christianity, a new kind of market economy, greed
                                                                  and avarice for their lands, intoxicants, disease,
1. The Parties                                                    and a new style of dress and abode. These
                                                                  contacts, of course, did not supplant their culture.
Plaintiff is a federally recognized American Indian tribe
and is the successor in interest of the L’Anse and                The 1832 expedition of Henry Schoolcraft, followed
Ontonagon bands of Chippewa Indians. Plaintiff                    by Douglas Houghton’s famous exploration of the
exercises powers of self-governance and jurisdiction              western Upper Peninsula, outlined the immense
over the L’Anse Indian Reservation in Baraga County,              mineral reserves of the Western Range and the
Michigan.                                                         Keweenaw Peninsula, which were all held at that
                                                                  time    by the    Indians,   pursuant to their
Defendant Robert Naftaly is the chairperson of the                unextinguished aboriginal title. Not surprisingly,
Michigan State Tax Commission (“Commission”).                     these rich mineral deposits evoked considerable
Defendant Robert Lupi is a member of the [4]                      interest from land speculators, miners, and the
Commission. Defendant Doug Roberts is a member of                 federal government.
the Commission. Defendant Dennis Platte is the
executive secretary of the Commission. Plaintiff sued             The United States [**6] Congress appropriated
these Defendants in their official capacities. These              money on March 3, 1841, to defray expenses of
Defendants are the appellants in the instant case.                entering into a treaty with the Chippewa for the
                                                                  extinguishment of their title within the State of
Defendant L’Anse Township is a political and corporate            Michigan where the mineral deposits were found.
body of the state of Michigan. Defendant assesses,                The Treaty with the Chippewa, 7 Stat. 591, was
collects, and enforces real property taxes under the Act.         subsequently negotiated on October 4, 1842, under
Defendant Baraga Township is a political and corporate            which the Indians conveyed to the United States
body of the state of Michigan. Defendant assesses,                their aboriginal title to the entire western half of
collects, and enforces real property taxes under the Act.         Michigan’s      Upper Peninsula, including the
Defendant Matthew Arko is the assessor for LAnse                  Keweenaw Bay area, and to all of northern
Township and Baraga Township. These Defendants did                Wisconsin. Although Article Ill of the treaty provided
not appeal the district court’s decision.                         for the eventual removal of the Indians to an area to
                                                                  the west occupied by the Mississippi Chippewa, it
                                                                  was thought that such removal would not take place
[***3] 2. The History Preceding the 1854 Treaty
                                                                  for a considerable time in the future. Ex. P-7. In
                                                                  Article Il, the Indians stipulated for the right to hunt
The following historical account was found by a district          in the ceded territory, together “with the other usual

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privileges of occupancy, until required to remove by        purchases began to occur on both sides of the Bay
the President of the United States   ....“  Article VI      at about that time. Numerous urgent letters and
provided that the Indians would be subject to               petitions from Indians and their representatives to
removal from the mineral district at the pleasure of        Indian agents and the President evidenced concern
the President. It was contemplated that this limited        about removal and revealed a desire to purchase
removal from the mineral areas, if it occurred.             land around the Bay by and for the benefit of the
would not move the Indians [**7J out of the                 Indians. .   . Many Indians in the Keweenaw Bay
                                                                             .



remainder of their cession area. Article IV provided        area adopted American-style [*9] (or non-Indian>
for the payment of annuities and the furnishing of          names, clothing, houses, and other customs. Some
goods and services to the Indians, including                swore allegiance to the United States before a
blacksmiths and carpenter shops, and schools.               magistrate. These accommodations to American
Notwithstanding the cession of title, the United            culture were often intended to demonstrate the
States’ laws with respect to trade and intercourse          Indians’ advanced degree of “civilization”. It was
with non-Indians were to remain in effect in the            hoped by some that such accommodations would
ceded territory.                                            convince the government to grant them citizenship
                                                            and permit them to remain in their homes rather
The events at Keweenaw Bay following the signing            than force them to remove to the west. Ex. U-il; VI
of the 1842 Treaty were significant. In accord with         Tr. 792; VII Tr. 906-907. A consistent Indian theme
the treaty, farmers and blacksmiths were provided           throughout the period of removal and prior to the
to the L’Anse band, along with funding to the               1854 Treaty was an ardent desire for permanent
mission boards in order to provide schools for the          homes for the Indians in their present locations.
Indians. Although the treaty did not provide for land
reservations, by all accounts the Indians were
advised, and they so understood, that their lifestyle       The evidence indicates that in the 1840’s, the
would [***4J be essentially unchanged after the             federal government’s policy towards Indians, known
treaty because the government only sought their             as “removal,” was being abandoned. Removal was
minerals. Notwithstanding these assurances, the             characterized by the movement of tribes from the
Indians, who did not want to remove, were very              eastern portion of the United States to lands to the
apprehensive about that potential. Of course, the           west, out of the path of western settlement by non
threat of removal at that time seemed remote                Indians. The removal policy became antiquated as
because the Indians were not living within the two          the settlement patterns of non-Indians moved
important mineral districts in the area. The Indians’       inexorably westward. It became clear in the 1840’s
comfort was short-lived, [**81 however, due to the          that there was rapidly becoming no place to move
commencement of land surveying in 1845, which               the Indians. II Ti. 184-5. The benevolent[**10)
meant that legal descriptions could be made and             rationale for the removal was to isolate the Indians
land could be sold. To the Indians, land sales              from the adverse impacts resulting from their
meant that their removal was likely and imminent.           contacts with non-Indian society. Of course, the
                                                            primary motivation was to free Indian lands from
On February 6, 1850, the President issued a                 their claims to them so the lands could be settled by
removal order, pursuant to the 1842 Treaty. I Tr.           non-Indians.
159. However, that [*5181 order was subsequently
withdrawn in August, 1851, and the Indians were             This same rationale underlay the creation of the
never actually required to remoVe. II Tr. 164.              reservation system, which replaced the removal
Nevertheless, according to Henry C. Gilbert, the            policy. II Ti. 186. The separatism that was hoped
Michigan Indian agent who negotiated the                    for could no longer be achieved through removal.
subsequent 1854 treaty, removal was “the great              However, Commissioner George W. Manypenny
terror of their [the Indians’] lives and I hazard           believed that the civilization policy could be
nothing in saying they will sooner submit to                achieved through the reservation system. Thus, he
extermination than comply with it.” Ex. P-25; II Tr.        believed that if the Indians were temporarily
166.                                                        isolated on discrete parcels, away from the
                                                            deleterious influence of non-Indians, they could
The survey of the Upper Peninsula area around               gradually become assimilated or “civilized” and
Keweenaw Bay was completed in 1848. Some land               eventually could be incorporated completely [*51

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     into non-Indian society. VII Yr. 1022. The               States and the Chippewa Indians of Lake Superior and
     reservation concept as a “way-station” was a             Mississippi entered into a treaty (“1854 Treaty”). Treaty
     necessary step, then, in the civilization process. VII   with the Chippewa, September 30, 1854, 10 Stat. 1109.
     Tr. 967.                                                 Under the 1854 Treaty, the Chippewa Indians ceded to
                                                              the United States a substantial amount of land in
          The new policy of the government was to             eastern Minnesota. In exchange, the United States set
    provide “permanent homes” on the reservations             aside permanent reservations for the various bands of
    that were set aside for the Indians and upon which        Lake Superior and Mississippi Chippewa. The United
    trespass by non-Indians would not be tolerated.           States also provided annuities, goods, and services in
    Additionally, [**1 1) there were three evils attendant    consideration of the cessation.
    to the government’s policy in the past, which
    Manypenny sought to avoid in the future: first, the       Article 3 of the 1854 Treaty outlined certain powers the
    payment to the Indians of excessive annuities,            President maintained with respect to the reservation
    which    [*519]     promoted profligacy and the           lands:
    consumption of intoxicants; second, excessive
    quantities of land held in common; and third,                 The United States will define the boundaries of the
    continued changes in location in advance of the               reserved tracts, [““13] whenever it may be
                                                                  necessary, by actual survey, and the President
    western movement of settlers. The 1854 Treaty, as
    well as others negotiated during this period, were            may, from time to time, at his discretion, cause the
    intended to address these articulated evils.                  whole to be surveyed, and may assign to each
                                                                  head of a family or single person over twenty-one
    Correspondence from Commissioner Manypenny to
                                                                  years of age, eighty acres of land for his or their
    the Indian agents about to undertake treaty
    negotiations with the Lake Superior Chippewa in               separate use; and he may, at his discretion, as fast
    the early 1850’s is critical to an understanding of           as the occupants become capable of transacting
    the government’s intentions. One of the four letters          their own affairs, issue patents therefor to such
    of instruction from Commissioner Manypenny to                 occupants, with such restrictions of the power of
                                                                  alienation as he may see fit to impose. And he may
    Henry C. Gilbert provides:
                                                                  also, at his discretion, make rules and regulations,
         I send herewith a copy of the instructions of the        respecting the disposition of the lands [*6] in
         Secretary of War of the date of 4th June of              case of the death of the head of a family, or single
         1847 when a former commissioner attempted                person occupying the same, or in case of its
         to treat with these indians but failed. According        abandonment by them. And he may also assign
         to the estimates of this office, the Chippewa            other lands in exchange for mineral lands, if any
         own about 10,743,000 acres of land, the                  such are found in the tracts herein set apart. And
         greater part of which is of no value to them,            he may also make such changes in the boundaries
         and never will be. Some portions of it will be           of such reserved tracts or otherwise, as shall be
         valueless [**121 to the white population.                necessary to prevent interference with any vested
                                                                  rights. All necessary roads, highways, and
         Nevertheless, the condition of affairs with the          railroads, the lines of which may run through any of
         Chippewas is such that it is the duty of the             the reserved tracts, shall have the right of way
         Government to offer them an opportunity to               through      the     same,      compensation   being
                                                                  made   [**141  therefor as in other cases.
         dispose of their tenure to their Country, and in
         lieu thereof, to give them a small tract as a
                                                               [“520] Importantly for the instant case, the President
         permanent home, with such means of support
                                                              had the power to assign land to individual Chippewa
         & mental & moral improvement as may be of
                                                              Indians, and he also had the power to place restrictions
         great advantage to them.
                                                              on these allotments, as welt as the power to remove
Id. at 420-23.                                                such restrictions. One such restriction would be a
                                                              restriction on alienation.

                                                              Article 10 allowed missionaries, teachers, and other
3. The 1854 Treaty
                                                              non-Chippewa Indians who resided in the ceded
On September 30, 1854, the President of the United            territory or the reservations to remain on their occupied


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 land at a minimum price.                                            In 1991, a district court held that lands sold by the
                                                                     United States prior to the ratification of the 1854 Treaty
 [“15] Article 11 listed certain restrictions placed upon            were a part of the reservation Keweenaw lndifl_y
the United States:                                                   y74F.Supp. at 424-25. See also note 1, supra.
    All annuity payments to the Chippewas of Lake                    After this ruling, Plaintiff filed a motion in district court to
     Superior, shall hereafter be made at L’Anse, La                 hold the state of Michigan in contempt for failing to
     Pointe, Grand Portage, and on the St. Louis River;              prevent Baraga Township and Baraga County from
     and the Indians shall not be required to remove                 seeking taxes on those lands sold prior to the 1854
     from the homes hereby set apart for them. And                   Treaty. The district court held that the imposition of such
     such of them as reside in the territory hereby                  taxes was improper in light of the previous ruling that
    ceded, shall have the right to hunt and fish therein,            those lands were part of the reservation, but [***7] it
    until otherwise ordered by the President.                        did not hold the state in contempt, as the state had not
                                                                     been allowed to correct the actions of the town and the
The 1854 Treaty was ratified on January 10, 1855.                    county. Keewenaw Bay Indian Cmty. v. State of
Subsequently, the President periodically assigned                    Michigan, No. [**17] 2:87-CV-0O278RHB (W.D. Mich.
parcels of the reservation to individual Chippewa                    Nov. 19, 1991).
Indians pursuant to his power under Article 3 of the
treaty. The real property in dispute in the instant case             In 1992, the Michigan state treasurer filed a petition in
are those parcels allocated under Article 3 and those                state court seeking the [*521] sale of certain real
parcels allocated under Article 10 that are now in the               property held by Plaintiff or its members due to tax
possession of Plaintiff or its members.                              delinquencies. Plaintiff and its members objected to the
                                                                     sale of the lands. The state court dismissed the
                                                                     objections of Plaintiff and its members on the ground
4. Tax Treatment of Real Property Within the                         that the Michigan Tax Tribunal had exclusive jurisdiction
Reservation                                                          over the case, but the court stayed the sale. In March
                                                                     1993, Plaintiff and its members filed their objections to
After the 1854 Treaty, none of the lands within the                  the sale of the lands with the Michigan Tax Tribunal. In
reservation held by Plaintiff’s predecessor tribes or its            March 1994, the Michigan Tax Tribunal entered a
members in fee was subject to the Act and its ad                     consent judgment with respect to Plaintiff and its
valorem real property tax. In 1982, the Michigan Tax                 members, L’Anse Township, Baraga Township, and
Tribunal explicitly held that lands held byr*16] Plaintiff           Baraga County. The consent judgment found that real
and its members were not subject to the Act; however,                property held by Plaintiff or its members that was within
the tribunal held that lands within the boundaries as                the exterior boundaries of the reservation was exempt
described by Article 2 of the 1854 Treaty that were sold             from ad valorem taxes under the Act. As a result, such
by the United States prior to the ratification of the treaty         property was to be taken off of the assessment rolls and
were not part of the reservation and were subject to                 listed as exempt. These exempt properties, however,
taxation. Baraga County Equalization Dep’t v. Darcy,                 were placed on a special “tribal assessment roll,” and
Mfl Docket No. 29713 (Feb. 23, 1982).                                Plaintiff and its members would pay exactly the amount
                                                                     of taxes that would have [**18] been due had the
                                                                     properties been kept on the ordinary assessment roll.

1
  A district court ruled that the lands allocated pursuant to        From May 1994 to February 1999, the parties followed
Article 10 of the 1854 Treaty that were within the boundaries        the dictates of the consent judgment. In February 1999,
of the reservation constituted a part of the reservation.            the Commission sent a bulletin to assessors and
Keweenaw Inpj                                                 The    equalization directors instructing them to place all real
court also concluded that parcels of land sold by the United         property owned by American Indian communities and
States to non-Indians before the 1854 Treaty that were within        their members on the assessment rolls. This decision
the boundaries of the reservation also constituted a part of the     was based on the Commission’s reading of p
reservation. Id. In sum, the court concluded that the physical       County v. Leech Lake nd     Ghippew Indians. 524
description of the reservation as provided for in Article 2 of the
                                                                                 118 SCL i9O4j41 L. Ed. 2d 90(998).
treaty defined the exterior boundaries of the reservation,
regardless of the fact that certain non-Indians owned real           In February 1999, LAnse Township, Baraga Township,
property within those boundaries That decision was not
                                                                     Baraga County, and two of Plaintiff’s members filed a
appealed.

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writ of mandamus in state court to prevent the                omitted).
Commission from interfering with the consent judgment.
The state trial court issued the writ of mandamus. The
state court of appeals affirmed, holding that the             2. Analysis
Commission was barred by principles of res judicata
from interfering with the consent judgment. The state         The district court did not err in granting summary
supreme court reversed and found that the Commission          judgment in favor of Plaintiff on the ground that the 1854
was not bound by the consent judgment, although the           Treaty disallows involuntary alienation of real property
court did not address the validity of ad valorem taxes on     held by Plaintiff or its members. While Defendants
real property held by Plaintiff or its members.               offered an alternative interpretation of the 1854 Treaty,
                                                              principles of American Indian treaty construction support
 In February 2003, the [*191 Commission ordered               the district court’s decision.
Defendant Arko to place real property held by Plaintiff or
its members on the 2003 assessment rolls. Defendant           a. Legal Framework
Arko did so and mailed assessment notices to Plaintiff
                                                              The    Supreme     Court’s   modern    jurisprudence    with
and its members. The Commission also ordered
Defendant Arko to place such property on the 1999,            respect to the interaction of state tax laws and treaties
                                                              with American Indians is based in McClanahan v. State
2000, 2001, and 2002 assessment rolls for L’Anse
                                                              Tax Commission of Arizona, 411 U.S. 164, 93 S. CI.
Township and the 2000, 2001, and 2002 assessment
                                                              1257, 36 L. Ed. 2d 129 (1973). In [““21] that case, the
rolls for Baraga Township. Defendants L’Anse Township
                                                              plaintiff, a Navajo Indian, challenged the state taxation
and Baraga Township issued ad valorem tax bills for
                                                              of her income, which was derived solely from activity
real property held by Plaintiff or its members that was
                                                              within the Navajo reservation. Id. at 165-66. Before
located within the exterior boundaries of the reservation.
Throughout the dispute, Plaintiff and its members             addressing the merits of the plaintiffs claim, the
                                                              Supreme Court emphasized that there was a “deeply
continued to abide by the consent judgment and paid
                                                              rooted” policy of preventing a state from asserting
the equivalent of the taxes that would have been owed
                                                              jurisdiction or otherwise interfering with American
on their holdings of real property if such property were
                                                              Indians. Id. at 168 (citation omitted). Indeed, in
on the ordinary assessment rolls.
                                                               Worcester v. Georgia, “Chief Justice Marshall held that
                                                              Indian nations were ‘distinct political communities,
II. DISCUSSION                                                having territorial boundaries, within which their authority
                                                              is exclusive, and having a right to all the lands within
                                                              those boundaries, which is not only acknowledged, but
A. THE PROPER INTERPRETATION OF THE 1854                      guarantied by the United States.’” Id. (quoting Worcester
TREATY                                                        v. Georgia, 31 U.S. (6 Pet) 515, 557, 8 L. Ed. 483
                                                              L[832)). The notion that American Indians constituted a
                                                              separate entity not subject to the laws of the state was
1. Standard of Review                                         known as the Indian sovereignty doctrine. The Court
                                                              noted that under that doctrine, the Court had rejected a
This Court reviews the district court’s decision on a         state’s attempt to tax the lands within an American
motion for summary judgment de novo Turner v. City.
                                          .
                                                              Indian reservation. lcJat 169 (citing (**22] The New
of Taylor, 412 F.3d 629, 637(6th Cir. 2005) (citation          York Indians, 72 U.S. (‘5 Wall.) 761. 18 L. Ed. 708
omitted). The moving party is entitled to summary             (1867); The Kansas Indians, 72 U.S. (5 Wall.) 737, 18 L.
judgment [**20] “if the pleadings, depositions, answers       Ect 667 (i8jJ1.
to interrogatories, [522J and admissions on file,
together with the affidavits, if any, show (hat there is no   The Court recognized that the Indian sovereignty
genuine issue as to any material fact and that the            doctrine had evolved and that there were certain
moving party is entitled to a judgment as a matter of         instances where a state could impose its laws on
law.” FedR. Civ. [““81 P. 56(q). The Court must view          American Indians and on actions that occurred on
the facts and all of the inferences drawn therefrom in the
                                                              reservation lands. id. at 171-72. The Court explained:
light most favorable to the nonmoving party. Molpsti0
                                                                    The Indian sovereignty doctrine is relevant, then,
                                                                    not because it provides a definitive resolution of the
587. 106 LJ4i .6JL9 (citation

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      issues in this suit, but because it provides a             well-established pedigree. In The Kansas Indians, the
      backdrop against which the applicable treaties and         Supreme Court noted:
      federal statutes must be read. It must always be
      remembered that the various Indian tribes were                  [E)nlarged rules of construction are adopted in
     once independent and sovereign nations, and that                 reference to Indian treaties. In speaking of these
     their claim to sovereignty tong predates that of our             rules, Chief Justice Marshall says: “The language
     own Government. Indians today are American                       used in treaties with the Indians shall never be
     citizens. .   . But it is nonetheless still true
                       .                           .   .that          construed to their prejudice, ii words be made use
     “(t)he relation of the Indian tribes living within the           of which are susceptible of a more extended
     borders of the United States.    .   (is) an anomalous
                                          .
                                                                      meaning than their plain import as connected with
     one and of a complex character. They were, and                   the tenor of their treaty.”
     always have been, regarded as having a semi-
                                                                 72 U.S. (5 Wall.) at 760 [**251 (quoting Worcester, 31
     independent position when they preserved their
     tribal relations; not as States, [“23] not as nations,      VS. (6 Pet.) at 582) (emphasis supplied). Under this
                                                                 principle, the Supreme Court interpreted a treaty with
     not as possessed of the full attributes of
                                                                 the Miami Indians, which stated that reservation lands
     sovereignty, but as a separate people, with the
     power of regulating p523] their internal and social         were exempt from “levy, sale, execution, and forfeiture,”
     relations, and thus far not brought under the laws of       as preventing state taxation of those lands. The Court
                                                                 reasoned:
     the Union or of the State within whose limits they
                                                                      Applying this principle [of treaty construction] to the
     resided.”
                                                                      case in hand, is it not evident that the words “levy,
Id. at 172-73 (alterations in the original) (quoting United           sale, and forfeiture” are susceptible of meaning,
States v. Kagama, 118 U.S. 375, 381-82, 6 S. Ct. 1109,                which would extend them to the ordinary
30 L. Ed. 228 (1886)) (emphasis supplied).                            proceedings for the collection of taxes? Taxes must
                                                                      be first levied, and they cannot be realized without
Turning to the facts in the case, the Supreme Court held              the power of sale and forfeiture, in case of non
that the treaty with the Navajo Indians precluded the                 payment. The position, it seems to us, is too plain
state from extending state tax law to Navajo Indians on               for argument. The object of the treaty was to hedge
the reservation. Id. at 174-75, Although the treaty did               the lands around with guards and restrictions, so as
not contain an express provision that disallowed state                to preserve them for the permanent homes of the
taxation of the Navajo Indians, the Court recognized that             Indians, In order to accomplish this object, they
                                                      [**9]           must be relieved from every species of levy, sale,
the treaty was “not to be read as an ordinary
contract agreed upon by parties dealing at arm’s length               and forfeiture-from a levy and sale for taxes, as well
with equal bargaining positions.” Id. at 174. The Court               as the ordinary judicial levy and sale.
recognized that American Indians, such as the Navajo,
signed treaties under duress and in hopes of creating a           Id. at 760-61.
permanent home for themselves. Id. “It is circumstances
                                                                 The Supreme Court recently reaffirmed the principle of
such as these which have led this Court in interpreting
Indian treaties, to adopt [*24] the general rule that            treaty construction in favor [**26] of American Indians in
                                                                 Minnesota v. Mule Lacs Band of Chippewa Indians, 526
‘(d)oubtful expressions are to be resolved in favor of the
                                                                 U.S. 172. [*5241 119 S. Cl. 1187, 143 L. Ed. 2d 270
weak and defenseless people who are the wards of the
nation, dependent upon its protection and good faith.”                    There, the Court stated: “[W]e interpret Indian
Id. (alteration in the original) (quoting CapjL(ef_y.
                                                                 treaties to give effect to the terms as the Indians
Shaw, 280 U.S. 363,7 50 S. Cl. fj 74LEcL 478
                                                                 themselves would have understood them.” Id.at 196
                                                                 (citations omitted). The Court continued: ‘We have held
Li.9Q)1. Relying on ‘this canon of construction” in              that Indian treaties are to be interpreted liberally in favor
conjunction with the backdrop of Indian sovereignty, the
                                                                 of the Indians,        and that any ambiguities are to be
Court concluded that the treaty established a                                      .   .   .



                                                                 resolved in their favor              Id. at 200 (citations
reservation where the Navajo Indians had exclusive
                                                                 omitted). See also Winters v. United Stale..,. 207 U.S.
sovereignty under general federal supervision, such that
the state could not tax activities on the reservation. lI.pl     564. 576-77. 28 S. Cl. 207, 52 L. Ec40 (1908) (“By a
                                                                 rule of interpretation of agreements and treaties with the
174-75.
                                                                 Indians, ambiguities occurring will be resolved from the
Treaty construction in favor of American Indians has a            standpoint of the Indians. And the rule should certainly

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be applied to determine between two inferences, one of             Manypenny when he reported on the draft treaty.
which would support the purpose of the agreement and               ‘We found that the points most strenuously insisted
the other impair or defeat it.”).                                   upon by them were first the privilege of remaining in
                                                                    the country where they reside and next the
                                                                    appropriation of land for their future homes. Without
B. Application to This Case                                         yielding these points, it was idle for us to talk about
                                                                    a treaty. [“29] We therefore agreed to the
The district court did not err in granting summary                  selection of lands for them in the territory heretofore
judgment in     favor of Plaintiff.   The   district court’s        ceded.” (emphasis in the original)
interpretation of the 1854 Treaty, finding that the treaty     (J.A. at 79) (footnote omitted).
prevented involuntary state [“27]        alienation and
therefore state taxation of real property, comports with       In response, Defendants assert that the Chippewa
the backdrop of American Indian sovereignty and                Indians intended to subject [525] themselves to state
principles of treaty construction in favor of American         taxes under the 1854 Treaty, as they were eager to
Indians.                                                       participate as citizens of the United States and the
                                                               states where they resided. In support, Defendants
  [***1 0] The focus of the analysis is Article 11 of the      offered the expert opinion and report of Dr. Anthony G.
 1854 Treaty, which states, in relevant part, “[T]he           Gulig (“Gulig”), an assistant professor at University of
 Indians shall not be required to remove from the homes        Wisconsin-Whitewater. Gulig found that, in the time
 hereby set apart for them.” Plaintiff asserts that the        preceding the 1854 Treaty, “the Lake Superior
 provision disallows any form of involuntary alienation,       Chippewas    .   .were not merely opposed to removal,
                                                                                    .




 including the sale of real property in fulfillment of a tax   but many had taken up land, were well versed in
judgment. In support, Plaintiff offered the expert opinion     modern agriculture, and took seriously the business of
and report of Dr. Charles E. Cleland (“Cleland”),              voting and otherwise interacting with the newcomer
Distinguished Professor Emeritus of anthropology and           society around them.” (J.A. at 525.) Gulig found that it
ethnohistory at Michigan State University. Cleland             was the notion of general removal that the Chippewa
observed that, at the time of the 1854 Treaty, the Lake        Indians feared, and, to combat this fear, they sought not
Superior Chippewa were very concerned with the                 merely reservations, but individual property ownership.
prospect of removal from their homelands, and they             The Chippewa Indians, in Gulig’s opinion, were eager to
were “particularly anxious” to broker an agreement to          take on individual allotments pursuant to the 1854
create permanent reservations for themselves. That             Treaty; indeed, the “most significant challenge [**30] to
agreement, the 1854 Treaty, contained Article 11, which        the administration of the allotment provision of the 1854
Cleland gave the following interpretation: “Article 11         Treaty, as it turned out, was that the land was not
solemnly guarantees that the signatory band would              surveyed and allotted to them quickly enough.” (J.A. at
never be required involuntarily to leave or [**28] give up     553-54.) From the findings that the Chippewa Indians
their reservations created by the treaty for any reason.”      sought individual allotments, Gulig concluded, “[l]t is
(J.A. at 254.) Cleland opined that imposition of state tax     clear that the Chippewas of Lake Superior.     .   knew the
                                                                                                                  .



liability on real property, and the concomitant power to       economic value and     liability of the land they sought  to
place tax liens on real property, “would be                    acquire both     as    reservations     and   as  individual
fundamentally contrary to the purpose of the treaty, that      allotments.” (J.A. at 555.) Defendants also presented
is, to provide secure and permanent homes for the              the expert opinion and report of Dr. Emily Greenwald
[Chippewa Indians].” (J.A. at 255.) Cleland came to the        (“Greenwald”), who opined that, at the very latest, the
ultimate conclusion:                                           Chippewa Indians knew in 1919 that the land they held
                                                               individually could be taxed. Greenwald, however,
    Certainly [the Chippewa Indians] did not understand        admitted that “[ijt is not clear whether [the Chippewa
    the idea of taxation as a condition of holding their       Indians] knew that their lands became taxable when title
    permanent reservation. If, in 1854 [federal agent          was conveyed” when they signed the 1854 Treaty. (J.A.
    Gilbert had told the [Chippewa Indians] that they
                                                               at 607.)
    had to pay money each year to hold their land, the
    [Chippewa Indians], who had very limited access to         In our view, the language of Article 11 of the 1854
    hard currency, would have most certainly objected.         Treaty is ambiguous. It is unclear whether the provision
    In fact, they would not have signed the treaty.            precluded all forms of involuntary alienation, including
    Gilbert made this point with Commissionm                   the sale of lands in [“‘11] satisfaction of tax liabilities,

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           452 F.3d 514, 525; 2006 U.S. App. LEXIS 15993, “30; 2006 FED App. 0207P (6th Cir.), ‘“11

 or only the general removal of the Chippewa Indians           and the fact that “Indians wanted to participate as
 from the reservation area. As made [“31] amply clear          citizens of the state, and taxation was an important part
 by Supreme Court precedent, this Court must read this         of that citizen participation.” (J.A. at 531-32.) Besides
 ambiguity in favor of Plaintiff and its members, and          this unsupported coriclusory assertion, Gulig hardly
 against the backdrop of the Indian sovereignty doctrine       even mentions taxation. Greenwald readily admitted in
 and the notion that American Indian tribes enjoy quasi-       her report that it was “unclear” whether the Chippewa
 sovereignty. This backdrop reinforces Plaintiff’s             Indians knew of the tax liabilities of land ownership; she
 interpretation that the treaty disallowed involuntary state   only concluded that by 1919, the Chippewa Indians
 tax sales, and thus state taxation, of real property held     knew that individually held property was subject to
 by P1 aintift or its members. Moreover, this Court must       taxation. As noted by the district court, “this conclusion
 read the 1854 Treaty in favor of one inference if such        does not enlighten the Court as to what the Indians may
 inference supports the purpose of the treaty and the          have believed at the time the Treaty was signed” and is
opposing inference subverts such purpose. Wir ers, 207         therefore of little use in interpreting the 1854 Treaty.
 U.S. at 576-77. In this case, the purpose of the 1854         (J.A. at 634-35 n.4.)
Treaty was to provide a permanent home for the
Chippewa Indians, a purpose that would be weakened             In their brief to this Court, Defendants make two
by the interpretation of Defendants through the                arguments. First, Defendants argue that Plaintiff’s
sanctioning of involuntary alienation of land held by          interpretation of the 1854 Treaty cannot stand, as it
Plaintiff or its members through tax sales. Even setting       would create a system f**34] of “perpetual tutelage”
aside these canons of treaty construction, which are a         and would be contrary to a purpose of the 1854 Treaty
matter of law and thus support the district court’s grant      to “civilize” the Chippewa Indians. (Defs. Br. 39.) We
of summary judgment, Plaintiff’s interpretation is much        disagree. Plaintiffs interpretation merely disallows
more persuasive. As the district court stated: “It defies      involuntary alienation; any voluntary form of alienation,
logic to believe that the Indians [**32] would have            assuming the President has allowed such alienation
signed a treaty ceding over seven million acres to the         under Article 3 of the treaty, would be permissible.
United States, knowing that they could lose the land           Moreover, as Defendants readily admit, the point of
they kept as a reservation the following year, due to          restrictions on alienation of the land was to encourage
non-payment of taxes.” (J.A, at 637.) We agree with            the “civilizing” of the Chippewa Indians, as there was a
Cleland that the Chippewa Indians did not know nor did         “concern that the Native Americans would lose control
they have reason to know that, in setting aside a              of the land and thereby end the ‘civilization’ process.
permanent reservation for them, the 1854 Treaty also           (Defs. Br. 39 n.88.) Thus, Plaintiff’s interpretation is
required the Chippewa Indians to pay taxes [*526]              more in line with the purpose of “civilizing” the
each year on allotted land, with the potential of losing       Chippewa Indians by ensuring that they would maintain
those allotted lands.                                          control of the land by shielding that land from
                                                               involuntary alienation such as a tax sale.
Defendants’ experts provide opinions that we do not find
persuasive in the present context. Gulig’s report focuses      Second, Defendants argue that, before a tax sale of
primarily on the desire of Chippewa Indians to own land        allotted land could take place, an allotment in fee simple
individually to prevent removal and to join the larger         would have to be made, and such allotment was subject
societies of the state and the United States. Assuming         to a series of [**12] procedures and safeguards, such
this view to be accurate, Gulig’s report says little as to     as ensuring that the allottee was competent to manage
whether Chippewa Indians understood that, under the            the land. This argument is irrelevant. Whether [**35]
1854 Treaty, individual allotment and ownership came           there was procedure in place to ensure an allottee was
with the price tag of state taxation. Gulig’s report makes     responsible before an unrestricted allotment took place
clear that the Chippewa Indians sought individual              simply has no bearing as to whether the Chippewa
allotments for the benefits such allotments provided, but      Indians understood that an allotment was coupled with
it does not contain a single piece of evidence that            taxation.
demonstrates that the Chippewa I”33] Indians knew
                                                               The point is that while Plaintilfs       and Defendant’s
that lands allotted under the 1854 Treaty would be
                                                               interpretations represent competing       inferences from
subject to taxation and the attendant possibility of
involuntary alienation. Gulig relies heavily on the fact       ambiguous language in Article 11 of      the 1854 Treaty,
                                                               Plaintiff’s interpretation is far more    compelling. The
that Michigan allowed those American Indians whom the
                                                               Chippewa Indians envisioned land set aside for them
state considered “civilized” to vole in state’elections,

                                                       Page 90115
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           452 F.3d 514, ‘526; 2006 U.S. App. LEXIS 15993. “35; 2006 FED App. 0207P (6th Cir.), ‘“12

permanently; it simply does not make sense that the            a. Legal Framework
Chippewa [‘527] Indians would disapprove of the mass
removal of their society but would sanction a gradual          While the 1854 Treaty is properly interpreted as
removal of individuals through involuntary alienation. As      preventing the involuntary alienation of, and thus the
Cleland notes, this is especially true considering that the    taxation of, reservation lands held in fee simple by
Chippewa Indians did not have much hard currency to            Plaintiff or its members, Congress may abrogate treaty
pay annual property taxes. Like the treaty at issue in         rights; Congress must, however, clearly express its
 The Kansas Indians, ‘The object of the treaty was to          intent to do so. Mile Lacs Band of Chipnewa Indians.
hedge the lands around with guards and restrictions, so        526 U.S. at 202 (citing United States v. Dion. 476 U.S.
as to preserve them for the permanent homes of the             734, 738-40.106 S. Ct. 2216, 90 L. Ed. 2d7.jfi9.6.
Indians. In order to accomplish this object, they must be      “There must be ‘clear evidence that Congress actually
relieved from every species of levy, sale, and forfeiture-     considered the conflict between its intended action on
from a levy and sale for taxes, as well as the                 the one hand and Indian treaty rights on the other, and
ordinary [**36] judicial levy and sale.” 72 U.S. (5 Wjjj       chose to resolve that conflict by abrogating the treaty.”
at 760-6 1. Likewise, in order to accomplish the object of     Id. a! 202-03 (quoting Dion, 476 U.S. at 740).
the 1854 Treaty, the preservation of a permanent home
for the Chippewa Indians, Plaintiff and its members            Independent of Congress’ power to abrogate American
must be relieved of every species of involuntary               Indian treaty [**38] rights, Congress may allow state
removal, including a levy and sale for taxes. As a matter      taxation of American Indian reservation lands, but only if
of law, the district court was required to read the            it expresses its clear intention to do so. The seminal
ambiguous language of the 1854 Treaty in favor of              case of permitted state taxation of American Indian
Plaintiff, a decision that was also practically sound.         reservation lands is Goudy v. Meath, 203 U.S. 146, 27
                                                               S. Cf. 48, 51 L. Ed. 130 (1906). The plaintiff, a Puyallup
                                                               Indian, claimed that certain property allotted to him
B. ABSENCE OF CLEAR CONGRESSIONAL INTENT                       under treaty was exempt from state taxation. kL at 146.
TO ALLOW TAXATION                                              The treaty stated that any fr*13] land [*5281 allotted
                                                               under the treaty was exempt from levy, sale, or
                                                               forfeiture until the formation of a state constitution and
1. Standard of Review                                          the removal of the land restrictions by the state
                                                               legislature. Id. at 147. The treaty went on to say that a
This Court reviews the district court’s decision on a          state legislature could not remove the land restrictions
motion for summary judgment de novo Turner, 412
                                             .
                                                               without the consent of Congress. Id. Under the treaty,
F.3d at 637 (citation omitted). The moving party is            the plaintiff was allotted certain property in 1886. In
entitled to summary judgment “if the pleadings,                1887, Congress enacted the Indian General Allotment
depositions, answers to interrogatories, and admissions        Act, also known as the Dawes Act, 24 Stat. 388. The
on file, together with the affidavits, if any, show that       Dawes Act was legislation that allowed the President to
there is no genuine issue as to any material fact and          allot reservation lands to individual American Indians.
that the moving party is entitled to a judgment as a           Section 5 of the Dawes Act stated that land allotted to
matter of law.” Fed. R. Civ. P.            The Court must      American Indians was freely alienable, [**39J after the
view the facts and all of the inferences   drawn   therefrom   United States held such allotted land in trust for the
                    favorable  [**37]   to  the  non  moving   allottees for twenty-five years. 2 In 1889, the state of
in the light most
party. Matsushita Elec. Indus.     Co.,   475   U.S.  at 587   Washington joined the United States, and that same
(citation omitted).                                            year the state legislature passed a law that lifted the
                                                               land restrictions in the treaty. Id. In 1893, Congress
                                                               passed legislation, 27 Stat 612, that allowed the
2. Analysis

The district court did not err in granting summary
                                                               2Although the Goudy Court did not specify its reliance on
judgment in favor of Plaintiff on the ground that
                                                               Section 5 of the Dawes Act in its decision, the Supreme Court
Congress has not expressed a clear intent to make              later interpreted Goudy as having rested primarily on that
alienable the property held in fee simple by Plaintiff or      section. See Cotu.jy of Yokimav.Confederaied Tribes and
its members within the reservation.                            8ands of the Yakima Indian Nation. 502 U.S. 251. 263-64. 112
                                                               S. Ct. 683. 116L. Ed. 2d687j1992J.

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            452 F.3d 514, ‘528 2006 U.S. App. LEXIS 15993, “39; 2006 FED App. 0207P (6th Cir.), “13

 alienability of land allotted to Puyallup Indians ten years      from restrictions on alienation. id. Section 6 of the
 after the passage of that legislation.      Id. The plaintiff    Dawes Act stated that each individual who was the
 recognized that Congress had made his allotment freely           recipient of an allotment had the benefit of and was
 alienable; however, he argued that Congress had also             subject to the laws of state in which he resided. Id.
 not expressly repealed the provision in the treaty that
 protected his allotment from levy, sale, or forfeiture, so        [‘14J In 1905, in the case of !nrc Heft, 197 U.S. 488,
 that his allotment was not taxable. Id. at 148-49.               25 S. CL 506,49L.Eci. 848 (1905), the Supreme Court
                                                                  held that Section 6 of the Dawes Act created plenary
 1”40] The Supreme Court held that the plaintiffs                 state jurisdiction immediately upon the issuance ol the
allotment was subject to state taxation. The Court found          allotment, as opposed to the expiration of the twenty-
that while Congress could provide that real property was          five year trust period. Id. at 255. In response, Congress
subject to voluntary alienation but immune from                   enacted the Burke Act, which stated that state [**42]
involuntary alienation, Congress’ “intent to do so should         jurisdiction would lie after the expiration of the twenty-
be clearly manifested.” Id. at 149. The Court reasoned            five year trust period. Id. The Burke Act also contained a
that from a general perspective, “it would seem strange           proviso that allowed the President to issue a patent in
to withdraw this protection [against voluntary alienation]        fee simple prior to the expiration of the trust period if the
and permit the Indian to dispose of his lands as he               President found the allottee to be competent and able to
pleases, while at the same time releasing it from                 manage her own affairs. id. “Upon such a premature
taxation.” Id.                                                    patenting,” the Burke Act stated that call restrictions as
                                                                  to sale, incumbrance, or taxation of said land” were to
In McClanahan, discussed above, the Court, in addition            be removed. Id. (quoting 34 Stat. 183) (internal
to discussing treaty construction, also addressed                 quotation marks omitted).
congressional approval of state taxation of American
Indians and their property on a reservation:                      The Yakima plaintiff was an American Indian tribe, who,
                                                                  along with its members, held in fee simple lands that
     State laws generally are not applicable to tribal            were allotted under the Dawes Act and the Burke Act.
     Indians on an Indian reservation except where                Id. at 256. The plaintiff filed an action in district court
     Congress has expressly provided that State laws              seeking a declaratory judgment that such lands were
     shall apply. It follows that Indians and Indian              exempt from state ad valorem taxation. The Supreme
     property on an Indian reservation are not subject to         Court disagreed and found that the lands were subject
     state taxation except by virtue of express authority         to the state real property tax. The Court first noted that
     conferred upon the State by act of Congress.                 “the power to tax involves the power to destroy,* as
                                                                  observed by Chief Justice Marshall in McCulloch v.
411 U.S. at 170-71 (internal quotation marks and [**41]
                                                                  Maryland, 17 U.S. (4 Wheat) 316, 431, 4 L. Ed. 579
citation omitted) (emphasis supplied).
                                                                  (1819). Id. at 258. As such, [**43]
In Yakima, the Supreme Court addressed congressional                   [a)bsent cession of jurisdiction, or other federal
approval of state taxation of reservation land held by                 statutes permitting it, we have held, a State is
American Indians under the Dawes Act and the Burke                     without power to tax reservation lands and
Act of 1906, 34 Stat. 182. The Dawes Act, passed in                    reservation Indians.   .   .And our cases reveal a
                                                                                                      .




1887, “empowered the President to allot most tribal                    consistent practice of declining to find that
lands nationwide without the consent of the Indian                     Congress has authorized state taxation unless it
nations involved.” 502 U.S.a1 254. As explained, supra,                has made its intention to do so unmistakably clear.
Section 5 of the Dawes Act required that each allotted
 [*529] parcel be held in trust by the United States for          Id. (internal quotation marks and citations omitted). The
twenty-five years, after which the parcel would be free           Court found such clear congressional intent in Section 5
                                                                  of the Dawes Act, where Congress allowed lands
                                                                  allotted under the Dawes Act to be free of restrictions on
                                                                  alienation after the elapse of the trust period. f2f.
3This legislation effectively cut short the time frame in which
                                                                  “[Wihen § 5 rendered the allotted lands alienable and
the Puyallup Indians could not sell their allotted lands. Under
                                                                  encumberable, it also rendered them subject to
the Dawes Act, the allotlee would have to wait twenty-five
                                                                  assessment and forced sale for taxes.” Id. at 263-64.
years after the allotment to be free from restrictions on
                                                                  The Court also found that the Burke Act represented a
alienation, whereas under the 1893 legislation, the allotfee
would have to wait only until 1903.                               clear intention by Congress that the allotted land be

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            452 F.3d 514, ‘529; 2006 U.S. App. LEXIS 15993. “43; 2006 FED App. 0207P (6th Cir.), “14

subject to taxation after the trust period, as that was            not because it provides a definitive resolution of the
made explicit in the proviso allowing the President to             issues in this suit, but because it provides a
remove restrictions prior to the lapse or twenty-Five              backdrop against which the applicable treaties and
years. ld.at 264.                                                  federal statutes must be [*46J         read. It must
                                                                   always be remembered that the various Indian
 In        Coujjy v. Leech Lake Band of C’jjp.pewa                 tribes were once independent and sovereign
 Indians, 524 U.S. 103. 118 S. Cl. 190.4,j41 1.. Ed. 2d            nations, and that their claim to sovereignty long
 90 (1998) [““44] the Supreme Court examined the                   predates that of our own Government.
allotment of land under the Nelson Act of 1889. The
Nelson Act distributed reservation land in three different     Mclanahan4jji.LS. at 172 (emphasis supplied). This
ways. Id. at 108. Under Section 3, the United States           backdrop reinforces the requirement that Congress
allotted parcels to individual tribe members as provided       must make its intent to allow state taxation of
for under the Dawes Act. Id. Under Sections 4 and 5,           reservation lands “unmistakably clear.” Yakima, 502
the United States sold “pine lands” to the highest bidder.     U.S. at 258 (Internal quotation marks and citation
Id. Under Section 6, the United States sold the                omitted). Specifically, “[a]bsent cession of jurisdiction, or
remainder of the reservation land to non-Indian settlers.      other federal statutes permitting it, we have held, a
Id. The plaintiff American Indian band had purchased           State is without power to tax reservation lands and
lands distributed under Sections 4, 5, and 6 to                reservation Indians.” Id. (internal quotation marks and
reestablish its land base. Id. The state [*530] taxation       citation omitted) (emphasis supplied). In McClanahan,
of these lands was before the Supreme Court. jçj.              the Court stated: “Indians and Indian property on an
110.                                                           Indian reservation are not subject to state taxation
                                                               except by virtue of express authority conferred upon the
The Court found that the lands were subject to state           State by act of Congress .‘ 411 U.S. at 171 (internal
 taxation. Echoing its analysis in Yakima, the Court           quotation marks and citation omitted) (emphasis
stated that wwhen Congress makes reservation lands             supplied).
freely alienable, it is ‘unmistakably clear’ that Congress
intends that land to be taxable by state and local             Defendants argue that the 1854 Treaty is sufficient to
governments, unless a contrary intent is ‘clearly              demonstrate the clear congressional intent necessary to
manifested.” )t 113 (quoting Yakima, 502 U.S. at               allow state [**47] taxation of reservation lands. We
263). The Court held that the Nelson Act provided for          disagree. A treaty is not a federal statute or an act of
the public [**451 sale of the lands in question, so            Congress. In our view, Congress makes its intent to
Congress made those lands freely alienable; as a result,       allow state taxation of reservation lands unmistakably
those lands were also subject to taxation. Id. The Court       clear when it passes a statute to that effect. It is no
rejected the plaintiffs argument that when the plaintiff       coincidence that the Supreme Court used phrases such
reacquired the lands, the lands became nontaxable. kL          as “federal statutes” and “act of Congress” in describing
at 114. The Court found that once Congress expressed           what would be necessary for the Court to deem state
a clear intent to make the land taxable, Congress must         taxation of reservation lands permissible. A treaty simply
then express a clear intent to make the land nontaxable.       does not embody this clear congressional intent, as a
Id. Moreover, the Court found that the plaintiffs position     treaty’s ratification only involves the Senate, and thus
would render superfluous a federal statute that allowed        does not have the same bicameral hurdles of an act of
the federal government to hold reservation lands in trust      Congress. Defendants argue [*531] that because a
so that such land would be nontaxable; Congress had            treaty, under United States law, is self-executing and is
already provided an explicit route for the plainlill to seek   the law of the land, it is the equivalent of an act of the
shelter from state taxation. Id.                               legislature. We agree that the effect of a treaty has legal
                                                               import, as does the effect of an act of legislation;
[““15] b. Application to This Case                             however, the mere fact that a treaty has legal force does
                                                               not mean it is an act of Congress. All of the cases to
i. The 1854 Treaty
                                                               which Defendants cite stand only for the proposition
The Indian sovereignty doctrine serves as a backdrop           that, under United States law, a treaty is self-executing
not only for treaty interpretation but also statutory          and does not require additional legislation to take effect.
interpretation as well:                                         [“‘48] See, e.g., Foster v. Neilson, 27 U.S. 253. 314.7
                                                               LEd.415(1829j, overruled on other grounds by United
    The Indian sovereignty doctrine is relevant, then,         States v. Pe, choman, 32 U.S. 51. 8 L. Ed. 604 (3j.

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            ‘152 F.3d 514, 531: 2006 U.S App. LEXIS 15993, “48: 2006 FED App. 0207P (6th Cii.), “15

While this is true, this does not mean a treaty is in fact                                            does not stand for the
an act of Congress representing that body’s will.                     proposition that a treaty represents clear congressionat
Concededly, legal authority may be derived from                       intent. In that case, the lead opinion (there was no
sources other than Congress, but the fact that a treaty               majority opinion) found that the land in question was
has certain legal import is insufficient to establish that a          freely alienable, although it did not explain from where
treaty is an act of Congress that represents its will.                this alienability derived. The lead opinion then found
                                                                      clear congressional intent to make the land alienable
Defendants cite two cases of sister circuits where those              under the Indian Nonintercourse Act of 1790, (‘INA”), 25
courts found certain allotted lands, made alienable                   U.S.C.     177. !d. at 82. The NA states: “No purchase,
through treaty, to be taxable by the state. Neither of                 [*532] grant, lease, or other conveyance of lands, or of
those cases, however, stand for the proposition that a                any title or claim thereto, from any Indian nation or tribe
treaty represents the clear intent of Congress. In              •
                                                                      of Indians, shall be of any validity in law or equity,
Indian Tribe v. Whatcom County. 5 F.3d 1355 (9th Cir.                 unless the same be made by treaty or convention
         the Ninth Circuit relied solely on the alienable             entered into pursuant to the Constitution.” The lead
character of the allotted land to find that such land was             opinion found that the NA also stood for the fact that a
taxable. Indeed, the Ninth Circuit recognized that a                  conveyance made by treaty was valid, such that any
treaty did not represent clear congressional intent:                  property properly conveyed would also be subject to
                                                                      taxation. Id. at 82-83. Nowhere in the lead opinion, or
     The logic propounded by the Goudy Court and
                                                                      any of the opinions, for that matter, did the court assert
     approved      by   Yakima Nation requires an
                                                                      that  a treaty is an expression of clear
                                                                                                                          [**51)
     Indian, [*49J even though he receives his property
                                                                      congressional intent.
     by treaty, to accept the burdens as well as the
     benefits of land ownership. This proposition may be               [**52] The 1854 Treaty is not sufficient to demonstrate
     hard to square with [*k*16] the requirement,                     a clear congressional intent that the lands at issue in
     recently approved by the Yakima Nation Court, that               this case be alienable and thus taxable.
     Congress’ intent to authorize state taxation of
     Indians must be unmistakably clear. The strength of              ii. The Statutes
     the language in Yakima Nation, however, makes
     virtually inescapable the conclusion that the Lummi
     land is taxable if it is alienable.
                                                                      5We also disagree with the analysis of the lead opinion. The
Id. at 1358 (emphasis supplied>. Thus, the Ninth Circuit              INA differs from the other statutes that the Supreme Court has
rested its analysis on the notion that alienability equals            validated as expressing the clear congressional intent of
taxability, regardless of the source of that alienability; it         alienability, in that the INA is not the source of the alienable
explicitly found that a treaty was not an expression of               character of the property. For example, under the Nelson Act,
clear congressional intent.    ‘                                      the alienability of the lands at issue derived from the Nelson
                                                                      Act itself, because the Act provided for the public sale of
[**50] Likewise, j7jgjJ3p.on v. County of Frank(ii4                   certain lands. As the dissent viewed the situation, ‘the issue
                                                                      seems to me not whether Thompson’s land is freely alienable,
                                                                      but whether it is freely alienable because of an act of
                                                                      Congress.” Id. at 95 (Sack, dissenting) (emphasis supplied).
  We disagree with the holding of the Lummi decision. No              Suppose, for example, that a treaty empowered the President
Supreme Court case has stated that alienability equals                to allot reservation lands without restrictions on alienation. In
taxability. As noted by the Lummi dissent, “[tihe Supreme             such a case, an allotment would be freely alienable not
Court in Yakima Indian Nation did not ignore how the land was         because of an act of Congress. but because of the act of the
allotted; the method of land allotment is cwcial in federal           President as empowered by the treaty. The mere fact that the
lndian law.” id. at 1360 (Beezer, J., dissenting). Indeed, in         conveyance of such an allotment would pass muster under the
Cass County, the dissent in the court of appeals opinion was          INA does not answer the question of whether Congress has
of the view that “alienability allows taxation.” 524 US at JIQ        made clear its intent that the land be alienable. A key point is
(internal quotation marks and citation omitted). Despite the          that the INA speaks to the conveyance of property, whereas
fact that this argument was before the Supreme Court, the             statutes such as the Dawes Act and the Nelson Act speak to
Court did not base its decision on this ground; instead, the          the nature of property. In short, congressional approval of the
Court reaffirmed the principle that Congress must make clear          conveyance of alienable property does not necessarily
its intent to allow state taxation of reservation lands, and it had   evidence a clear congressional intent that such property be
done so with the Nelson Act. Id.a 113.                                alienable in the first place

                                                             Page 13 of 15
           Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 30 of 49



           452 F.3d 514, ‘532; 2006 U.S. App. LEXIS 15993, “52; 2006 FED App. 0207P (6th Cir.), “‘16

 Defendants argue that certain statutes demonstrate a          other words, the act made clear that the Secretary of the
clear congressional intent that the lands at issue in this     Interior Could exercise presidential power with respect to
case be alienable. We categorically disagree.                  allotments under treaties. We first note that land within
Defendants first assert that the 1854 Act, 10 Stat. 598.       the L’Anse reservation could not have been allotted
evidences such clear congressional intent. The 1854            under the 1922 Act, as all of the land within the
Act authorized the President to negotiate with the             reservation had already been allotted by 1912. This fact
Chippewa Indians with respect to certain lands in              is dispositive of this argument. Furthermore, we agree
Minnesota and Wisconsin. Defendants did not raise this         with the district court that the 1922 Act was not so much
argument before the district court, so they may not raise      congressional approval of alienability of lands allotted by
this argument before this Court. Cerred RX, Inc. v.            the Secretary of Interior so much as it was a clarification
American Prescription PIan Inc., 46 F.3d 535. 549 (6th         as to the delegation of the President’s power: [T]he
                                                                                                                     [**55J
çff 1*17I 1995) (“[T]his court will not consider issues        statute appears to be more of an ‘administrative
not presented to the district court but raised for the first   housekeeping measure,’ than an act that was intended
time on appeal.). In fact, Defendants argued in district       to abrogate or change the rights under the 1854 Treaty
court that the 1854 Act was inapplicable to the case at        or address the alienability of such land.” (J.A. at 639.)
hand. Defendants cannot now reverse course and
assert the 1854 Act is applicable to this case.                The record demonstrates that the lands within the
                                                               L’Anse reservation were allotted pursuant to the 1854
 Defendants next rely on the Dawes Act to show a clear         Treaty and not the Dawes Act, the 1854 Act, the 1910
congressional intent that the [*53J lands at issue be          Act, the 1913 Act, nor the 1922 Act. Defendants failed to
alienable. The record, however, contains absolutely no         demonstrate a clear congressional intent that the lands
evidence that L’Anse reservation land was ever allotted        allotted on the L’Anse reservation be alienable and thus
 under the Dawes Act. Indeed, although all three experts,      taxable.
 Cleland, Gulig, and Greenwald, agreed that reservation
land was allotted pursuant to the 1854 Treaty, none of         We realize that the case turns on the formality of
the experts claimed that reservation land was allätted         whether land was allotted and made alienable through
pursuant to any other law. Greonwald opined that the           an act of Congress or through some other source, such
Office of Indian Affairs allotted land under the 1854          as the President. Supreme Court jurisprudence makes
Treaty utilizing the same procedures as the Dawes Act,         clear, however, that only Congress has the power to
but Greenwald never claimed that the Dawes Act ever            authorize state taxation of American Indian reservation
supplanted the 1854 Treaty as the source of power from         land. If land becomes alienable through the clear intent
which the allotments derived. Likewise, Defendants’            of Congress, as manifested by statute, such land is also
reliance on certain acts passed in 1910 and 1913 is            taxable. If land becomes alienable through another
misplaced. Those acts, 36 Stat. 855 and 37 Stat. 678,          source,. Congress simply has not spoken as to whether
 (533] provided that if an allottee died before the trust      that land should be taxable.
period expired, the Secretary of the Interior could issue
the land in fee simple to the heirs if he found the heirs to
be competent. We agree that lands so issued would be           III. CONCLUSION
taxable, as Congress clearly expressed its intent that
                                                               For the foregoing reasons, we AFFIRM the order of the
such lands were to be held in fee simple and thus would
                                                               district court.
be alienable. The problem, however, is that Defendants
                                                     [x*54j
muster not even a scintilla of evidence                        Dissent by: RALPH B. GUY, JR.
demonstrating that any of the land at issue was indeed
issued under either of the acts. In fact, it was impossible
for any of the land at issue to have been issued under
                                                               Dissent
the 1913 Act, at the least, because Defendant’s own
expert found that all of the land on the L’Anse
reservation had been allotted by 1912.                         [**18J    [“56] RALPH B. GUY, JR., dissenting. The
                                                               court has accurately set forth the facts and procedural
Defendant’s reliance on an act passed in 1922, 42 Slat         history of this case. The result reached is certainly
994, is similarly flawed. That act provided that the           plausible. Nonetheless, I believe the approach taken by
Secretary of the Interior could allot reservation lands        the Ninth Circuit in Lummi Indian TriheWhaIcorr,
under treaties where the President had such power. In          ct       Wp1gLQ..E.3d.. ti_c i9.9_i, is the

                                                      Page 14 of 15
           Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 31 of 49



           452 F.3cJ 514, ‘533: 2006 U.S. App. LEXIS 15993, “56 2006 FED App. 0207P (6th Cir.), “‘18

better one. In Lummi the court held:                             Without meaning to demean in any way the credentials
                                                                 of the experts who testified, I do not believe that any
     A state cannot tax reservation lands or reservation         expert can tell you what was in lhe mind of an Indian
      Indians unless Congress has ‘made its intention to         150 years ago relative to losing his land through
     [authorize state taxation] unmistakably clear.”             forfeiture for nonpayment of taxes, when (he tribe knew
     [County of Yakirna v. Con federated Tribe.j                 nothing of taxation and the consequences that might
     Bands of the Yakima Indian Natior 502 U.S 251,.             flow from failure to pay taxes that were assessed. I do
      258, 116 L. Ed. 2d 687 (1992)LJJ2S. Cf.                    not find the treaty language ambiguous. For me it is
     688 (quoting Montana v. Blackfet Tribe, 4.1LL.S.            clear that, in a historical context, what was referenced
      759, 765. 105 S. Ct. 2399, 2402. 85 L.Ed. 2d 753           when “removal” was mentioned was relocation of the
               In YakIma (*534] Nation, the Court found          tribe, and it had nothing to do with what might happen
     an unmistakably clear intent to tax fee-patented            when freely alienable land was under individual
     land. It did not rely on section 6 of the General           ownership.
     Allotment Act as Yakima County proposed,
     concluding instead that the land’s alienable status
     determines its taxability. See IYakima LfJ2i                  End of Document
     265/, 112 S. Ct. at 688-691. The Court made no
                                           [**57] by treaty
     distinction between fee land allotted
     and that allotted under the Act. Its interpretation of
     section 5 of the Act and the proviso to section 6
     imply that no matter how the land became
     patented, it is taxable once restraints against
     alienation expire.

Id. at 1357 (first alteration in original) (footnote omitted).

The court went on to say:

    The logic propounded by the Goudy Court [Goudy
       Meath, 203 U.s. 146, 27 S. Ct. 48, 51 L. Ed. 130
    (1906)1 and approved by Yakima Nation requires an
    Indian, even though he receives his property by
    treaty, to accept the burdens as well as the benefits
    of land ownership. This proposition may be hard to
    square with the requirement, recently approved by
    the Yakima Nation Court, that Congress’ intent to
    authorize state taxation of Indians must be
    unmistakably clear. The strength of the language in
    Yakima        Nation,    however, makes      virtually
    inescapable the conclusion that the Lummi land is
    taxable if it is alienable.

Id. at 1358,

There was a dissent in Lummi and the dissenting judge
stated: “There is an appealing simplicity to the
proposition that alienable land is taxable land.
Unfortunately, federal Indian law does not have [“58] a
simple history; no amount of wishing will give it a simple
future.” Ida!__1360. I have no quarrel with this
observation, but I cannot find in the Treaty anything
from which I can reasonably conclude that once this
land became freely alienable, it should escape taxation.


                                                         Page 15 of 15
Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 32 of 49




     EXHIBIT C
              _________________________

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                                                            TOM DERA(3Q’l                               PAGE 08
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                                                                                  H       C73?CC)/



                                                  RESOLUTION


                                                                                    the Reservation of
        WHEREAS, the Town of Sanbom is located entirely within the boundaries of
                                                                                   “Tribe”) in Ashland
        the Bad River Band of Lake Superior Tribe of Chippewa Indians (hereinafter
        County, Wisconsin, and,
                                                                                   ment and the
       WHEREAS, pursuant to the 1854 Treaty between the United States Govern
                                                              bound aries of the reservation and the
       Chippewas lands were allotted in fee simple within the
       Town of Sanborn to the Tribe and its members, and,
                                                                                    lands allotted in fee
       WHEREAS, the United States Federal Courts have determined that the
                                                                                                    ers are not
       simple pursuant to the 1854 treaty which lands axe owned by the Tribe Tribe memb
                                                                                   or
                                                                                     estate taxatio n pursuant
       subject to State real estate tax laws and are, therefore, not subject to real
                                                                                           Indian  Comni   uitv
       to the U.S. Court ofAppeals for the Six Circuit Court case of Keweenaw Bay
                                                                                                 , cert. denied
       v. Naflaly et al and Township of L’Anse et al, 452 F. 3d 514,2006 Fed. App. 0207P
                                                                                                      W. 3283
       by 1275. CT. 680, 166 LEd. 2d 516,75 U.S.L.W. 3177,75 U.S.L.W. 3280,75 U.S.L.
       (November 27, 2006), and,
                                                                               Court holdings
       NOW, WHEREAS, the Town of Sanboni is obliged to comply with the Federal
       in the above referenced case,

       THEREFORE, the Town Board of the Town of Sanborn resolves as follows:

        1.      The Town of Sanborn acknowledges the holding of the above referenced case.

       2.       The Town of Sanborn and its assessor shall list on its tax roll as “non-taxable” any land
                allotted in fee simple pursuant to the 1854 treaty owned by the Tribe or any Tzibe
                member.


       Dated:
                                                               APPROVED/



                                                                raor)Chairrnan.

       ATTEST:                                                  Frank Connors, Sr., Supervisor


       Jarnie Weaver, Town Clerk                                Robert Blanehard, Supervisor
Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 34 of 49




     EXHIBIT D
           Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 35 of 49


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                   State of Wisconsin              DEPARTMENT OF REVENUE
                                                      OMSION OF ST38 AND lOCAl. FINANCE    •   EUREAU OF AS8E8SMN1 pRCTlCES   •   MADISON. WI

                                                                                                                          ADDRM3MAJLTO

                                                                                                                                   Aiea 6-97
                                                                                                          2135 Rlmcock Road • P.O. Box e971
                                                                                                                    Madison, WI 53708-8071
                                                                                                                TELEPHONE: t608) 261.5380
                                                                                                                        FAX (608) 287-0835

                                                   April4, 2007.


     Mr. Martin Meyer
     P.O. Box 306
     Ashland, WI 54806
     Dear Mr. Meyer:

     This letter provides information regarding cieterminaflon of the taxability of Native American
     owned fee simple land that is located on the reservation.

     The U.S. Court of Appeals for the Sixth Circuit recently ruled In a Michigan case {Keweenaw I3ay
     indian Community v. Naftaly), that certain NatlveAmerican owned fee simple lend on OjIbwe
     (Chippewa) reservations is not taxable, because the 1654 Treaty of LaPointe with the Ojibwe
     does not permit taxation of such lands. The Treaty provides that “the Indians shall not be required
     tO remove from the homes hereby set apart for thorn.” Sec 11. ThIs precludes states from
     enforcing property tax, since the land could not be sold to pay the tax..

    The Keweenaw Bay court decision does not directly apply to Wisconsin; however its precedent
    and reasoning are consistent with a prior Wisconsin Attorney General opinion and the Wisconsin
    Property Assessment Manual (WPAM). Four reservations in Wisconsin may contain land granted
    by the same 1854 treaty: Bad River (then known as the LaPointe band), Red Cliff
                                                                                     (a subdivision
    of the LaPointe band headed by the renowned Chief Buffalo), Lao Du Ffambeau and Lao
                                                                                            Colirte
    des Oreilles.

    “Native American owned real property on an Indian reservation Is not subject
                                                                                      to state and local
    taxation unless an Act of Congress provides for it. In the situation where a Native American
                                                                                                   owns
    real property on a reservation in fee simple it is subject to the property tax on the
                                                                                            presumption
    that the Congressional act authorizing fee simple ownership provides
                                                                              for taxation of the land.”
    WPAM 2007 Volume 21.7-22, Revenue Department Policy on Native
                                                                               American Property Tax
    Status (1993).

   The Congressional Act which provides that most fee simple Native American
                                                                              land is taxable is the
   General Allotment Act of 1887. Land allotted pursuant to that Act
                                                                     (and many later Congressional
   acts) is taxable.

   However, some land allotted before 1887, such as that allotted to Ojibwe
                                                                            tribal members under
   the 1854 treaty. may be exempt. The Wisconsin Attorney General explained
                                                                             this in 1983:
            I believe the state and its local subdivisions have express authority pursuant
                                                                                           to the
           general allotment act of 1887. as amended, 25 U.S.C. ss 331 et seq., particularly
           25 U.S.C. ss349, to impose property taxes on fee patented Indian lands
                                                                                         located
           within the exterior boundaries of the reservation which were first allotted pursuant
           to the act after February 8, 1887. The allotment act does not apply, however,
                                                                                               to
           Indian fee patented lands allotted prior to that date directly under the treaty with
           the Chippewas of September 30, 1854 and. accrrdinnlv ‘,,t’h Ir4e
                 Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 36 of 49


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            Mr. Martin Meyer
            April 4, 2007
            Page Two



            72 Op.AtLy.Gen. 74 (1983).

         With regard to land owned by Native Americans that is covere
                                                                         d by the 1854 treaty, there is no
         presumption of taxability in these instances and the burden to prove taxabil
                                                                                       ity rests with the
         municipality. The municipality would be required to determine whethe
                                                                              r:
                 (1) the fee simple parcel Is within the outer boundary of the reserva
                                                                                       tion, and
                 (2) the parcel was subject to the 1854 treaty.

        In this situation the exempt status of reservation land is the
                                                                        result of federal treaties rather than a
        State statutory exemption. The State does not have author
                                                                        ity to tax property that is exempt via
        federal guidelines unless it is authorized to do so by Congr
                                                                       essb so the typical statutorily required
        documents and exemption requests are not applicable to this type
                                                                               of property.
        The level  and types of documentation needed to verify whether particu
        allotted by a particular treaty may vary, but should Includ the a          lar fee simple parcel was
                                                                   e     treaty Itself at minimum, and may
        include other historical records, We enclose a copy of the treaty
                                                                          for your Information.
       I hope this Information is of assistance. If questions arise
                                                                      that are beyond the scope of the
       WPAM. this letter, or the role of the assessor, the munic
                                                                 ipality should consult appropriate legal
       counsel.

       Sincerely,
                         (2


        L,.:-”    -
                       /-
       Silly J. Bowers, Director
       Bureau of Assessment Practices
       Wisconsin Department of Revenue


      cc:        Al Rom port!
                 Dan Davis
                 Scott Shields




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     EXHIBIT E
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                     State of Wisconsin 0 DEPARTMENT OF REVENUE
                                                                                    DIViSION OF STATE AND 10CM. FINANCE. • MADISON. WI

                                                                                                                               ADDR8OS 4’JL rO:

                                                                                                                                       Area 6-97
                                                                                                        2130 RLrweck ftaad. P.O. 8o 8871
                                                                                                                  Msdlson, WI 53708-0071
                                                                                                              TELEPHONE: (605) 268.0930
                                                                                                                       FA (606) 267.0830


                                                       August 29, 2007
                                                                                                                          :-
                                                                                                                     a
                                                                                -         .           A-.                . .

                                                                                                                -:




        Mr. Eugene Bigboy, Sr., Chairman                                                        SEP    —    6 2007             .l 1:
        Bad River Band of Lake Superior Chippewa indians
        P.O. Box 39                                                             .         :
        Odanab, WI 54861                                                              D FUVER TR!BAL OFFICI
        Dear Chairman Blgboy,

              Roger Ervin, The Secretary of the Wisconsin Department of Revenue has asked me to
        forward you copies of our recent correspondence regarding the taxation of Native American land
        on the Reservation. I have enclosed two letters that were written In response to inquires from
        local assessors and other local officials after the. recant Sixth Circuit Court of Appeals case,
        Keweenaw Bay Indian community v. Nartaly.
              I’:tVtpe this Information Is of assistance to you. If you have further questions that are, beyond
        the scope of the documents Included please contact me at 608-266-0939.

                                                       Sincerely,



                                                       Daniel F. Elsass, AdminIstrator,
                                                       Division of State and Local Finance
                                                       Wisconsin Department of Revenue



        Enclosure




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   Thi             State ofWisconsin                   DEPARTMENT OF REVENUE-.




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                                                                                                             TEI.EPHDNE: (SOB) 255-0935
                                                                                                                     FPX (SOB) 2S4-6SB



                                                         August24, 2007


                                                                    cans in Reservations in
      To:      Local Assessors of Fee Lands Owned by Native Ameri
                                                                  and Vilas Counties
               Ashland, Bayfleld, Iron, Sawyer, Washburn, Burnett
                                                                    ation
       Re:     Native American Owned Fee Land Located on the Reserv

                                                                             of Revenue received from local
           This letter is In response to several inquiries the Department           by Native Americans on
                                                               fee  lands   Owned
      assessors regarding the procedures for dealing with
                                                                     ty”), because of inquiries triggered by
      reservations affected by the Treaty of 1854 (“affected proper       Indian Community v. Naftaly. The
      the recent Sixth Circuit Court of Appeals case, Kewnenaw ay
                                                                   are as  follows:
      questions as I understand them and my responses to them

                                                                                  have provided lists of members
        (1) Verification of property ownership. Native American tribes
                                                           to  obtain  a  proper   ty tax exemption. What are the
       and properties owned by those members in order
       Department’s guidelines on verifying this information?
                                                                                                               under the
       ANSWER: When a Native                 jrlbe or tribal member claims a property is exempt
                                                                                                   ipality  to challenge
       Treaty of 1854, the propert      2ed to be exempt. The onus is on the munic
                                                                                 munic  ipality  should    contac  t their
       this presumption and prottat the pperty is taxable. The                             federal   Bureau     of Indian
                                                   arid sources    of verific ation.  The
       attorney to identify                                                                      cal societi  es may   be
                                        ar4ese   ntative  s, title  compa   nies,   and  histori
       Affairs, appropriate Con
       helpful resources in the
                                                                               by business, is this property
       (2) Property owned by bu ‘Øf’n affected property is owned
       exempt or taxable?
                                                                              by a business that is at least
       ANSWER:: ‘Property on a reservation is completely exempt If owned
                                                             r(s). Howev er, when   the reservation’s Inbe or
       51% owned by the reservation’s tribe or tribal membe
                                                                                 by the business taxed in
       tribal member(s) own 50% or less of the business, the property owned
                                                                                , outlines how to determine
       part. The Wisconsin Property Assessment Manual (WPAM), at 217-23
       tribal ownership and prq-rate property tax where appropriate:
                                                                                                  corporation is
               For the purposes of determining Native American ownership a
                                                                                          if  the  corporation Is
               considered to be a Native American corporation and not taxable
                                                                 who  are    enrolle d  membe      rs  of the tribe
               controlled and operated by Native Americans
                                                  corpor ation  operate s.   Contro l  require   s  owners  hip of
               of the reservation on which the
                                           ation’s stock. For  examp le,   a  structu re  used    for  a shoppi  ng
               51% or more of the corpor                                                                       tion
                                                                                             on  the   reserva
               center constructed on land held in trust for the tribe and located
                                                                                                    (individual or
               where the ownership of the structure is shared by a Native American
                                               can the structu re would   be   taxed   at a   value   equal to the
               tribe) and a non-Native Ameri
                            t of its fjr mrke(  vlii   q  the  non-N  tiv    Ameri  can’s    owners    hio interest
               cnmn nercpn
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                                                          TOM DERGON                               PAGE 12
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      Local Assessor Questions
      August 24, 2007
      Page Two of Three

                                                            couple owns affected property, and one
      (3) Propert,r owned by married couples. If a married
                                                                 can, are these properties taxable,
      spouse is Native American and the other is non-Native Ameri
      taxed in part, br exempt?
                                                                         circumstances is completely
      ANSWER: Under Wisconsin’s marital property law, property in these
                                                                     tribe on whose reservation land
                                                              of the
      exempt, assuming the Native American spouse is a member
      the property Is located.
                                                                               refunds. Is it necessary for a
       (4) Compliance with state statutes for obtaining property tax
                                                                           nsin  statutes in order to obtain a
       Native American to follow sectIons 74.33 or 74.35 of the Wisco            refund requests?
                                                           atically ” accept the
       property tax refund? Should the municipality “autom
                                                                          be made in accordance with the
      ANSWER: Refund requests made by Native Americans must
      applicable state laws.
                                                                            ts made pursuant to sec. 74.33.
      The municipality has the discretion to grant or deny refund reques          refund or rescind in whole
                                                                             t
      Section 74.33(1) says that the governing body of the taxation distric         .
                                                       tax roll.” (Emph asis added)
      or In part any general property tax shown in the
                                                                      sec. 74.35. If the governing body
       However, the municipality must grant requests made pursuant to
       of the tax district determines:

               (a) That an unlawful tax has been paid, and
                                                                                 with all legal requirements.
              (b) That the claim for recovery of the unlawful tax has complied
                                                                               which the tax is payable. See
       Claims under sec. 74.35 must be flied by January 31 of the year in
       sec. 74.35(5) (a).
                                                                                  tax is the Town required to
       (5) Refund period. If secs. 74.33 or 74.35 apply, how many years of
                                                                        itely. since  the state never had the
       refund? Since (he enactment of sec. 74.33 in 1987. or indefin
       power to tax in the first place?
                                                                             and for how many years is a
       ANSWER: The decision whether or not to refund under sec. 74.33
                                                                      in  consul tation with the appropriate
       discretionary decision made by the municipality, and should be
                                                        74.35 are genera lly limited  to a one-year period,
       municipal legal counsel. Refunds under soc.
       except as otherwise provided by sec. 74.35(5).
                                                                                        d in the Managed
       (6) Managed Forest Land program. Another issue involves land that is enrolle
                                                           have the ability to tax, does that invalidate all
       Forest Land program (MFL). Since the state does not
       MFL contracts?
                                                                                        be directed to the
       ANSWER: Questions regarding the Managed Forest Land program should
                                                     agency respon sible for admini stenng the program.
       Department of Natural Resources, which is the
                                                                                         issued by a federal
       (7) Retroactivity and the I<eweenaw Bay decision. Since the case was
                                                                            parties only  move forward from
       appellate court in favor of a Michigan tribe in 2006, should other
       2006. not retroactively? What weight should be given  to that decision?
             Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 41 of 49


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       Local Assessor Questions
       August 24, 2007
       Page Three of Three

                                                                                                   does permit
       ANSWER: Section 74.35 does generally not permit retroactive application; sec. 74.33
                          application at the discretion of the municipality .    Whether   or  not   retroactive
       some retroactive
                                                                              in conjunction  with  its attorney
       application is appropriate should be determined by the municipality
       (assuming a claim is received under sec. 74.33).
                                                                                                          legal
       The 2006 federal appellate court decision is not controlling in Wisconsin, but it is not the first
                                                                          an opinion That   reached  a  similar
       guidance on this Issue. The Wisconsin Attorney General issued
                                                                                                      do carry
       result in 1983. 72 Op. Atty. Gen. 74. While such opinions are not binding precedent, they
       weight. in addition.   existing guidance in the Wisconsin    Property Assessment      Manual  (WPAM)
       specifies in 21.7-22 that:

               Native American owned real property on an Indian reservation is not subject to state
               and local taxation unless an Act of Congress provides for it. in the situation where a
               Native American owns real property on a reservation In fee simple it is subject to the
               property tax on the presumption that the Congressional Act authorizing fee simple
               ownership provides for taxation of the land.”
                                                                                                  is the
       The Congressional Act which provides that most fee simple Native American land is taxable
       General Allotment Avt of 1887. Land allotted pursuant to that Act (and many  later Congression al
       acts) is taxable. However, some land allotted before 1887, such as that allotted to OjibWe tribal
       members under the 1854 treaty, may be exempt.

       (8) Charge back. If the Town provides a refund and subsequently requests a charge back under
       sec. 74.41, will the Department approve that charge back?

       ANSWER: The Department of Revenue will review any claims for a sec. 74.41 char e back when
       received and determine an appropriate action in accord with the state statute Th impact of a
       refund on the levy or other municipal functions should not be considered by the municipality during
       its evaluation of a refund request and is no a determining factor for the DepartmeJ


            I hope this information is of assistance. if questions arise that are beyond the scope of the
       WPAM, this letter, or the role of the assessor, the municipality should consult appropriate legal
       counsel.

                                                      Sincerely.

                                                     84zP L414-’
                                                      Daniel F. Elsass
                                                      Administrator
                                                      Division of State and Local Finance



       cc:     Wendy Wink
               Carrie Templeton
               Dan Davis
               Scott Shields
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           Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 43 of 49




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                             I )eiëdant.


                                 ORDLR ROM 1HAW1NG OF 1)JC MIJR 7, 2016


              The alve—cuptioncd mttcr                       mu come before thc Court tr a            hearii on   Decernhcr 7.

  2016 at I 0:() a.m. reuwdi’rn I’Iainiiflc’ retition f’r fl’rtiorciri. and the I)eIndant
                                                                                          Motion for

  ftay ot Pr<cvedin. and:

               I>Iaintii(. havine nppenrecl 1w their attorOeyS I.inda 1. Clemun. of Spears. Carisun &

  Coleman. and Frank \V. Kowalkowxki. of von Brieen & Roper. s.c.: and the rcIndtnt. by it

  attorney. l. Vat jon Anderson. of Areoi, M,Iter. Macs, lifl1e & Larson. s.c. kind:

              ‘Ihe L:otlrl having reviewed the p1eadins herein and the lriePs wbmitted by the parties.

  and havinc! heard onil :ireiimcnt,: on )c’ct:mher 7. 20 6. nmkcs the IblIo’ving findings and Order:

              fl       Court     makes the fotluwitg indings:

               1.            the town Board ol the town olSanbum passed Resolution No. 0723—2007. a cup

 of’ which was attached to Liic Complaint (“lesolution”). which stated that “lt]hc ‘I’own o Saithorn

 ;md      its nse,;;or       ,;lnill list on n   ta   roll   ;is ‘nLn.Ln:ahtc’    any   hind allotied in fee simple I rstianl 0’

 ifie     I ‘N—l    IrCltV   t’WIKI   b the hiheoianv Frihe cmber.’’




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                                                                                  IuoDcasJop@rdulJo1uaxtJ.         XV:]! T:cr LTO/O/O
O/OOtJ
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                                                                            T(M DERAGOH                                                PAGE 02
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                                                                                                    Iowi
                 2.        the \Vixuonsin Department oiRc’.enue (“D1)R’’ sent whiten tndanec to the

       md its assessor r amdi nm lIme t axahi I iv t I the rca              tpett y in ipac ted 1w the i&csoluticmn.

                          11w J.)OR also publi$lted uiddiiws in the Wisconsin Property Assessnwnt
                                                                                                  Manual
                 3.

      ‘     hicli addresses the taxab,lttv ol proneztv impacted by the Rcsolution.

                 4.        Pursmiimnt   to Wis. Sctt.   c 70.32(11.      assessors     itt   he :;ttIe of Wisconsin rue required


      Ii)   follow the   (lirec-tion of   the DOR as specilid in the Wiscomisin Property Assessment Manual.

                                  treating of certain properties as “non—taxable’’ puisuant                        to the Resolution        is
                 5.        (lie


      contrary to the I)OR’s Wisconsm                Property Assesmnent Manual rind              is   also contrur to the      peeilic


      written iiuimlunce provtdcd by          lIme   I)Ol   to   the ‘I’on ofSanborn and          its   assessor.

                 C,.       The 1o,’m assessOr. .1 own board, and •rown l3oard of Review lacked- the                            authorit


      to determine what properties will or will not be taxed.

                 7.        ‘Ilie Town Board of Re’iew owes a fiduciary duty                      to    all rsidenL of the Town             of’


      Sanhorn.

                 .         the Resolutic)n     ji     no b;ti in law and exceeclemi the “own’s authority.

                          ‘11     Fown Board ol’ Review, at the December I 7. 2(1! 5 Town L3oau’d of Revie

      fmc;,ring. or prior to that ckite. had reason to believe that ww properw that 5lflf)()Cd tiettig taxed titte

      Ri    the Resotut ion had been nniucd.

                 1’)’ IS H EtEH Y OR 1>lREf):

                 1.       -       l)elcndzmnt’s Motion h)r Stay is D/NfEI).

                 2.       l’he I>laintilIs’ Petition for (        ‘crm’iuriui   is (R.4Vf/)_

                           (lie. ‘I twa hoard ol’ Review slial I, tort Ii wi lb. noti t’ the owi icr, agent. Or possessor

            all the property that slopped be, ri taxed in the              I o Len   ol S:inboni d Lie       to   the ReoI Ut ion.   ot’   the
                    Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 45 of 49


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           pitiperl v.


                       4.           In the   notice   provided      to   all   properly uVneIS. ilCOtS.       or p       scssors of   propeiiv. that

           :ii’ppd       l)eiflI!   taxed pwsuaflt         [1)   he Resol ulien. lie lwn Board of Review shal[ also include a

           I irne   and place Iir n lwarin            Cu   be heard bclr the Town Board ol Review in relation thereto. said

           heanne.      k)   be scheduled lbiihwitli. and in uccordance with Wi, Stat. 7Ol7(I 0).

                       ..           Alter the hearing requited by this Order, the Tc>w lh,;IrLI of Review shall
                                                                                                being taxed
           iinmediatdv instruct the Town of Sanborn assessor to lax all properties that slopped
                                                                                                           propeiiv
           due   fri   the Resolution. Iorthvith. unless evidence s 1eiled at the heating. ih:it a specihe

                exempt from taxation under the rules set fbrth in the 2C1 15 Wisconsin
                                                                                                                            Property    Assesmcnt
           i’


           vlanii;tl. which reads. in           pall.   us Ilillows:

                             On February 8, 1 87.                    enacted the (ieitenil Allotment Act which
                                                                 (.‘otluIeis
                             applies to all Wisoiisin tribes. Under that \ct. real property that au
                             individual Ntuii’e Americin owns on a reservation in Je simple is subject
                                                                             language in the l’reaty of 1 5-l, real
                             to property tax. However, due to certain

                             property locuted    within    the reservation   buwidaiv       oC]3nd River, Lac (‘ourte
                             Oreilles.  Luc  do  Fluml’eau.    and  Red  Cliii   Chippewa       bans is exempt
                                  o   Ii wasall  otted    beibre  February   8.  I $7     under   unit Treaty.
                                  G   It is owned    in  fee simple   b  the  tribe    or tribal  trictubers. runi
                                  o    Ther has been        no  conveyance     ol    the  land   to  tionuribal niembers
                                      since  it was   first ollotued  under the    I i54   Trcaly.   For example, if the
                                      land had been exempt tinder the provisions of the I 854 h’rcau.
                                                                                                                       but
                                      vas then sold to            nontribal ,‘.aubev.        the   land   would   lose
                                      CXC111J)tiofl and he subjecl to properly (ax. l:v •f Li
                                                                                                           land was l;ter
                                      repurchased by an 1854 Tribe, the               land   would     remain  subject to
                                         piol)CI(V tax-.
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Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 46 of 49




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     EXHIBIT G
          Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 48 of 49


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  5/l8/2s3 15:20       l7l5S82521                    TOM DERAGON                          PAGE t



                         -                Town of Sanborn
                                           P.O. Box 1021
                                         Ashland, WI 54806


       To: Thomas & Sandra Deragon
           54595 Johnson Rd
           Ashland, WI 64806

       Tax Key(s): 022-1860-0500

                          TOWN OF SANBORN BOARD OF REVIEW
                             NOTICE OF ASSESSMENT BY BOARD
                   Pursuant to Court Order and § 70.47(6) and (10), Wis. Stat.

       YOU ARE HEREBY NOTIFIED that pursuant to the Order of the Court in Ashland
       County Case No. 16 CV 30, dated January 12, 2017, the Board of Review is required to
       cause your above-referenced property to be returned to taxable status on the Town of
       Sanborn’s tax roll. Included with this Notice is a copy of the Court’s Order.

       Pursuant to the Order of the Court and the above-referenced statutes, you may contest
       this action. In order to contest the action you must complete the enclosed “Demand for
       Hearing” form and return it to the Town Clerk at p. o. Box 1021, Ashland, WI 54806.

       YOU ARE FURTHER NOTIFIED that the Board of Review intends to commence
       holding the hearings demanded by owners as follows:

                        Location:   Sanborn Town Hall
                                    69393 US Highway 2, Ashland, WI 54806
                        Date:       Monday April 24th, 2017
                        Time:       6:00 p.m.

       Depending on the number of hearings demanded, additional hearing dates may be
       required. If you file a Demand -forHearing, you will be notified of your specific hearing
       date and time. If you contest this action, in order for your property to remain non-
       taxable, the Court Order requires you to present evidence at the hearing that your
       property: (i) was allotted before February 8, 1887, under the La Pointe 1854 Treaty
       between the then President of the United States and the Chippewa Indians of Lake
       Superior and Mississippi; (ii) is owned in fee simple by the Bad River tribe or Bad River
       tribal members; and (iii) has never been conveyed to nontribal members since it was
       first allotted under the 1854 Treaty.

       Dated thisY/day of March. 2017               Town of Sanborn Board of Review




                                                        Jamie Weaver, Town Clerk
                                                            _____________       ______
                                                                                ___________—-   __________




t                Case: 3:18-cv-00625-jdp Document #: 2-1 Filed: 08/08/18 Page 49 of 49


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                                              DEMAND FOR HEARING
                                        TOWN OF SANBORN BOARD OF REVIEW


            OWNER NAME(S):
            OWNER ADDRESS:
            CITy
            S.             —.
                                7Ip
                                —   S

                                                             •         -                                     —




            TAX KEY NUMBER(S):

            tiWe received the Town of Sanhorn Board of Review Notice of Assessment by Board
            Pursuant to Court Order and § 70.l7(6) and (10). Wis. Stat.

            I/We understand that pursuant to the (3rder of the Court in Ashland County Case No. 16
            CV 30. dated January 12, 2017. the Board of Review is required to cause my/our
            above•referenced property to be returned to taxable status on the Town. of Sanborns
            tax roll.

           liWe desire to contest this action and have completed this Demand for Hearing’ form
           and will return it to the Town Clerk at P. 0. Box 1021. Ashland. WI 54806.

           I/We understand the oard of Review intends to commence holding the hearings
           demanded by owners as set forth in the Notice and that. depending on the number of
           nearinqs        ncicd. additional hearing dates may be required. •I ihl iI.oi- wiil y
           notified of my/our specific hearing date and time.

           Finally, f/we understand that in order for my/our property to remain non-taxable, the
           Courl Order requires rne)us to present evidence at the hearing that my/our property: (i)
           was allotted before February 8. 1887. under the La Pointe 1854 Treaty between the
           then President of the United Slates and the Chippewa Indians of lake Superior and
           Mississippi: (ii) is owned in lee simple by the Bad River tribe or Bad River tribal
           members: and (üij has never been conveyed 0 nontribat members since it was first
           allotted under the 1854 Treaty.

           Dateclancl signed Ibis                       dav of             ..   2017

                       -        y___    -   -   -   -




           Owner                                                           Owner


           Owner           -                                               Owner
